               Case 1:20-cv-03590-JEB                     Document 348                 Filed 05/25/24             Page 1 of 71


                                                      Federal Trade Commission
                                                            Exhibit Index
Volume No.   Ex No.   Description                                                                                         Sealing Treatment


Vol. 1       PX0002 Public Document: Facebook, Inc. Q2 2012 Earnings Call Transcript                                      PUBLIC


Vol. 1       PX0026 Public Document: Facebook, Inc. Q2 2018 Earnings Call Transcript                                      PUBLIC


Vol. 1       PX0048 Article: Adam Mosseri, Building a Better News Feed for You , Facebook (June 29, 2016),                PUBLIC
                    https://about.fb.com/news/2016/06/building-a-better-news-feed-for-you/

Vol. 1       PX0064 Blog Post: Bret Taylor, The Next Evolution of Facebook Platform, Facebook (Apr. 21, 2010),            PUBLIC
                    https://developers.facebook.com/blog/post/377/

Vol. 1       PX0081 Press Release: Facebook Unveils Platform for Developers of Social Applications , Facebook (May 24,      PUBLIC
                    2007), https://newsroom.fb.com/news/2007/05/facebook-unveils-platform-for-developers-of-social-
                    applications
Vol. 1       PX0122 Article: Sienrak, Path Raising $40M Round Led by Redpoint. No, It Will Not Be the Next Instagram ,      PUBLIC
                    Venture Beat (Apr. 16, 2012), https://venturebeat.com/mobile/path-raising-40m-round-led-by-redpoint-no-
                    it-will-not-be-the-nextinstagram
Vol. 1       PX0224 Article: Read Mark Zuckerberg’s Blog Post on His ‘Privacy Focused Vision’ for Facebook , NY Times       PUBLIC
                    (Mar. 6, 2019), https://www.nytimes.com/2019/03/06/technology/facebook-privacy-blog.html

Vol. 1       PX0242 Public Document: Facebook Inc. SEC Form 10K (2012)                                                    PUBLIC


Vol. 1       PX0289 Press Release: Company Timeline , Facebook (September 2006),                                          PUBLIC
                    https://web.archive.org/web/20080228004941/http://www.facebook.com/press/info.php?timeline

Vol. 1       PX0290 Blog Post: Mark Slee, Facebook For Your Phone, Facebook Blog (Jan. 10, 2007),                         PUBLIC
                    https://web.archive.org/web/20070117061124/http://blog.facebook.com/blog.php?post=2228532130

Vol. 1       PX0291 Blog Post: Joe Hewitt, Facebook for iPhone, Facebook Blog (July 10, 2008),                            PUBLIC
                    https://web.archive.org/web/20080906134944/http://blog.facebook.com/blog.php?post=22389032130

Vol. 1       PX0292 Public Document: Facebook Inc., Registration Statement (Form S-1)                                     PUBLIC


Vol. 1       PX0293 Webpage: Facebook for Android , Facebook (Sept. 19, 2009),                                            PUBLIC
                    https://web.archive.org/web/20090919004950/http://www.facebook.com/apps/application.php?id=747699
                    95908
Vol. 1       PX0295 Press Release: Facebook to Acquire Instagram , Meta (Apr. 9, 2012), https://investor.fb.com/investor- PUBLIC
                    news/press-release-details/2012/Facebook-to-Acquire-Instagram/default.aspx)

Vol. 1       PX0296 Article: Fracis Bea, Rumor: Google negotiating $1 billion acquisition of WhatsAp p, Digital Trends (Apr. PUBLIC
                    5, 2013), https://www.digitaltrends.com/social-media/google-acquiring-whatsapp/

Vol. 1       PX0297 Webpage: Facebook for Android , Facebook,                                                            PUBLIC
                    https://web.archive.org/web/20091008224722/http://www.facebook.com/apps/application.php?id=747699
                    95908&v=info
Vol. 1       PX0298 Article: The Sit-Down: Jeff Weiner, CEO, LinkedIn , Sports Bus. Journal (May 18, 2015),              PUBLIC
                    https://www.sportsbusinessjournal.com/Journal/Issues/2015/05/18/People-and-Pop-Culture/Sit-Down.aspx

Vol. 1       PX0300 Court Filing: Meta Platforms Inc.'s Relevant Markets Tutorial Submission (3:20-cv-08570-JD)           PUBLIC


Vol. 1       PX0303 Article: Matthew Rosenberg, Nicholas Confessore & Carole Cadwalladr, How Trump Consultants            PUBLIC
                    Exploited the Facebook Data of Millions , NY Times (Mar. 17, 2018),
                    https://www.nytimes.com/2018/03/17/us/politics/cambridge-analytica-trump-campaign.html
Vol. 2       PX0304 Article: Carole Cadwalladr & Emma Graham-Harrison, Revealed: 50 Million Facebook Profiles             PUBLIC
                    Harvested for Cambridge Analytica in Major Data Breach, The Guardian (Mar. 17, 2018),
                    https://www.theguardian.com/news/2018/mar/17/cambridge-analytica-facebook-influence-us-election.




                                                                   1 of 71
               Case 1:20-cv-03590-JEB                      Document 348                Filed 05/25/24             Page 2 of 71


                                                      Federal Trade Commission
                                                            Exhibit Index
Volume No.   Ex No.    Description                                                                                           Sealing Treatment


Vol. 2       PX0305 Press Release: Mike Schroepfer, An Update on Our Plans to Restrict Data Access on Facebook , Meta        PUBLIC
                    Newsroom (Apr. 4, 2018), https://about.fb.com/news/2018/04/restricting-data-access/.

Vol. 2       PX0307 Blog Post: Mark Zuckerberg, Calm Down. Breathe. We hear you, Facebook Blog (Sept. 5, 2006),              PUBLIC
                    https://www.facebook.com/notes/256480419099100.

Vol. 2       PX0308 Article: Laura Locke, The Future of Facebook, TIME (July 17, 2007),                                      PUBLIC
                    https://content.time.com/time/business/article/0,8599,1644040,00.html.

Vol. 2       PX0310 Article: Steven Levy, Meta Rethinks he Philosophy of the Facebook Feed , Wired (Oct. 6, 2022),           PUBLIC
                    https://www.wired.com/story/meta-rethinks-facebook-news-feed.

Vol. 2       PX0311 Press Release: Introducing Threads: A New Way to Share with Text, Meta (July 5, 2023),                   PUBLIC
                    https://about.fb.com/news/2023/07/introducing-threads-new-app-text-sharing/.

Vol. 2       PX0312 Public Document: Mark Zuckerberg, Threads,                                                               PUBLIC
                    https://www.threads.net/@zuck/post/CuVafQTvquB?igshid=MzRlODBiNWFlZA%3D%3D

Vol. 2       PX0313 Article: Alex Heath, This is what Instagram’s upcoming Twitter competitor looks like, The Verge (June 8, PUBLIC
                    2023), https://www.theverge.com/2023/6/8/23754304/instagram-meta-twitter-competitor-threads-
                    activitypub
Vol. 2       PX0314 Article: Ben Thompson, Threads and the Social/Communications Map, Stratechery (July 11, 2023),           PUBLIC
                    https://stratechery.com/2023/threads-and-the-social-communications-map

Vol. 2       PX0315 Article: Helen Li, Threads, Meta’s Twitter clone, just launched — and people are already complaining  PUBLIC
                    about it , LA Times (July 6, 2023), https://www.latimes.com/business/technology/story/2023-07-
                    06/threads-metas-twitter-clone-just-launched-and-people-are-already-complaining-about-it
Vol. 2       PX0316 Article: Geoffrey A. Fowler and Naomi Nix, What we love and hate about Threads, Meta’s new Twitter    PUBLIC
                    clone, Washington Post (July 12, 2023), https://www.washingtonpost.com/technology/2023/07/05/threads-
                    meta-instagram-twitter-alternative
Vol. 2       PX0318 Article: Alex Sherman, TikTok exec: We’re not a social network like Facebook, we’re an entertainment PUBLIC
                    platform , CNBC (June 16, 2022), https://www.cnbc.com/2022/06/16/tiktok-were-an-entertainment-app-
                    not-a-social-network-like-facebook.html
Vol. 2       PX0319 Journal Article: Angela Y. Lee et al., The Algorithmic Crystal: Conceptualizing the Self Through      PUBLIC
                    Algorithmic Personalization on TikTok , Proceedings of the ACM on Human-Computer Interaction (2022)

Vol. 2       PX0320 Webpage: Reaching Your Customers on Instagram , Instagram,                                               PUBLIC
                    https://business.instagram.com/blog/targeting-instagram-ads

Vol. 2       PX0321 Article: Jon Porter, TikTok is discontinuing its BeReal clone , The Verge (June 27, 2023),               PUBLIC
                    https://www.theverge.com/2023/6/27/23775125/tiktok-now-discontinued-notification-bereal-murder-
                    clone.
Vol. 2       PX0322 Journal Article: Alexandra Masciantonio et al., Don’t put all social network sites in one basket:        PUBLIC
                    Facebook, Instagram, Twitter, TikTok, and their relations with well-being during the COVID-19
                    pandemic, PLoS (2021)
Vol. 2       PX0323 Journal Article: Aparajita Bhandari and Sara Bimo, Why’s Everyone on TikTok Now? The Algorithmized       PUBLIC
                    Self and the Future of Self-Making on Social Media , Soc. Media + Soc’y (2022)

Vol. 2       PX0324 Journal Article: Kristen Barta and Nazanin Andalibi, Constructing Authenticity on TikTok: Social Norms   PUBLIC
                    and Social Support on the “Fun” Platform , Proceedings of the ACM on Human Computer Interaction
                    (2021)
Vol. 2       PX0325 Webpage: People You May Know , Meta, https://www.facebook.com/help/336320879782850                       PUBLIC


Vol. 2       PX0326 Webpage: Use location targeting, Meta,                                                                   PUBLIC
                    https://www.facebook.com/business/help/365561350785642?id=176276233019487

Vol. 2       PX0333 Public Document: Policy Advisory Opinion on Meta's Cross-Check Program                                   PUBLIC




                                                                   2 of 71
               Case 1:20-cv-03590-JEB                       Document 348                 Filed 05/25/24             Page 3 of 71


                                                        Federal Trade Commission
                                                              Exhibit Index
Volume No.   Ex No.    Description                                                                                              Sealing Treatment


Vol. 2       PX0334 Webpage: Proactive Rate, Meta: Transparency Cente r, https://transparency fb.com/mg-                        PUBLIC
                    mg/policies/improving/proactive-rate-metric/ (updated Feb. 22, 2023)

Vol. 2       PX0336 Webpage: Spam , Meta: Transparency Center, https://transparency.fb.com/data/community-standards-            PUBLIC
                    enforcement/spam/instagram/

Vol. 2       PX0337 Webpage: Fake Accounts , Meta: Transparency Center, https://transparency.fb.com/data/community-             PUBLIC
                    standards-enforcement/fake-accounts/instagram/

Vol. 2       PX0338 Webpage: Adult Nudity and Sexual Activity, Meta: Transparency Center,                                PUBLIC
                    https://transparency.fb.com/reports/community-standards-enforcement/adult-nudity-and-sexual-
                    activity/instagram/
Vol. 2       PX0339 Webpage: Child Endangerment: Nudity and Physical Abuse and Sexual Exploitation, Meta: Transparency PUBLIC
                    Center, https://transparency.fb.com/reports/community-standards-enforcement/child-nudity-and-sexual-
                    exploitation/instagram/
Vol. 2       PX0340 Webpage: Bullying and Harassment, Meta: Transparency Center,                                         PUBLIC
                    https://transparency.fb.com/reports/community-standards-enforcement/bullying-and-
                    harassment/instagram/
Vol. 2       PX0347 Webpage: Community Standards Enforcement Report , Meta: Transparency Center,                         PUBLIC
                    https://transparency.fb.com/reports/community-standards-enforcement/

Vol. 2       PX0348 Public Document: WhatsApp, Stopping Abuse: How WhatsApp Fights Bulk Messaging & Automated                   PUBLIC
                    Behavior (Feb. 6, 2019), https://www.internetlab.org.br/wp-
                    content/uploads/2019/10/WA_StoppingAbuse_Whitepaper_020618-Final-1.pdf
Vol. 2       PX0356 Webpage: We protected your account , Pinterest: Help Center, https://help.pinterest.com/en/article/we-      PUBLIC
                    protected-your-account

Vol. 2       PX0359 Webpage: About MaxMind , MaxMind, https://www.maxmind.com/en/company                                        PUBLIC


Vol. 2       PX0360 Webpage: IP Geolocation , IP2Location, https://www.ip2location.com/                                         PUBLIC


Vol. 2       PX0361 Article: Jeremy Elson, John R. Douceur, and Jon Howell, Asirra: A CAPTCHA that Exploits Interest-       PUBLIC
                    Aligned Manual Image Categorization , October 2007, https://www.microsoft.com/en-us/research/wp-
                    content/uploads/2007/10/CCS2007.pdf
Vol. 2       PX0362 Article: Leena Rao, NuCaptcha Dynamically Alters Captchas To Promise Security , TechCrunch (Aug.        PUBLIC
                    11, 2011), https://techcrunch.com/2011/08/11/nucaptcha-dynamically-alters-captchas-to-promise-security/

Vol. 2       PX0363 Webpage: PhotoDNA , Microsoft, https://www.microsoft.com/en-us/photodna                                     PUBLIC


Vol. 2       PX0368 Webpage: Welcome to Apache Zookeeper , Apache Zookeeper, https://zookeeper.apache.org/                      PUBLIC


Vol. 2       PX0369 Webpage: Apache Oozie Workflow Scheduler for Hadoop , Apache Oozie, https://oozie.apache.org/               PUBLIC


Vol. 2       PX0370 Article: Adam Satariano and Mike Isaac, The Silent Partner Cleaning Up Facebook for $500 Million a          PUBLIC
                    Year , NY Times (Aug. 31, 2021), https://www.nytimes.com/2021/08/31/technology/facebook-accenture-
                    content-moderation.html
Vol. 2       PX0376 Webpage: Models and libraries , Meta, https://ai.meta.com/resources/models-and-libraries/                   PUBLIC


Vol. 2       PX0377 Article: How Facebook uses super-efficient AI models to detect hate speech , Meta (Nov. 19, 2020),          PUBLIC
                    https://ai.meta.com/blog/how-facebook-uses-super-efficient-ai-models-to-detect-hate-speech/

Vol. 2       PX0378 Article: Kyle Wiggers, Pinterest details the AI that powers its content moderation , VentureBeat (Mar. 5,   PUBLIC
                    2021), https://venturebeat.com/business/pinterest-details-the-ai-thatpowers-its-content-moderation/




                                                                     3 of 71
               Case 1:20-cv-03590-JEB                      Document 348               Filed 05/25/24              Page 4 of 71


                                                      Federal Trade Commission
                                                            Exhibit Index
Volume No.   Ex No.   Description                                                                                           Sealing Treatment


Vol. 2       PX0380 Webpage: How it Works Using Machine Learning to Reduce Toxicity Online , Perspective,                   PUBLIC
                    https://www.perspectiveapi.com/how-it-works/

Vol. 2       PX0388 Article: RoBERTa: An optimized method for pretraining self-supervised NLP systems , Meta (Jul. 29,       PUBLIC
                    2019), https://ai.meta.com/blog/roberta-an-optimized-method-for-pretraining-self-supervised-nlp-systems/

Vol. 2       PX0389 Article: XLM-R: State-of-the-art cross-lingual understanding through self-supervision , Meta (Nov. 7,   PUBLIC
                    2019), https://ai.meta.com/blog/-xlm-r-state-of-the-art-crosslingual-understandingthrough-self-
                    supervision/
Vol. 2       PX0391 Blog Post: Jacob Devlin and Ming-Wei Chang, Open Sourcing BERT: State-of-the-Art Pre-training for       PUBLIC
                    Natural Language Processing, Google Research (Nov. 2, 2018), https://blog.research.google/2018/11/open-
                    sourcing-bertstate-of-art-pre html.
Vol. 2       PX0392 Webpage: How to Block a Friend on Snapchat , Snapchat Support, https://help.snapchat.com/hc/en-         PUBLIC
                    us/articles/7012401093396-How-to-Block-a-Friend-on-Snapchat

Vol. 2       PX0393 Webpage: How to Remove a Friend on Snapchat , Snapchat Support, https://help.snapchat.com/hc/en-        PUBLIC
                    us/articles/7012410297364-How-to-Remove-a-Friend-on-Snapchat/

Vol. 2       PX0394 Webpage: How do I change my privacy settings on Snapchat? , Snapchat Support,                          PUBLIC
                    https://help.snapchat.com/hc/en-us/articles/7012343074580-How-do-I-change-my-privacy-settings-on-
                    Snapchat
Vol. 2       PX0395 Webpage: How to block accounts on X , X Help Center, https://help.twitter.com/en/using-x/blocking-and- PUBLIC
                    unblocking-accounts

Vol. 2       PX0396 Webpage: Blocking users , TikTok Help Center, https://support.tiktok.com/en/using-tiktok/followers-and- PUBLIC
                    following/blocking-the-users

Vol. 2       PX0397 Webpage: User safety , TikTok Help Center, https://support.tiktok.com/en/safety-hc/account-and-user-    PUBLIC
                    safety/user-safety

Vol. 2       PX0398 Webpage: How to Direct Message (DM) on X , X Help Center, https://help.twitter.com/en/using-x/direct-   PUBLIC
                    messages#search-dms

Vol. 2       PX0399 Webpage: Our range of enforcement options for violations , X Help Center,                               PUBLIC
                    https://help.twitter.com/en/rules-and-policies/enforcement-options

Vol. 2       PX0400 Article: How We Prevent the Spread of False Information on Snapchat , Snapchat News (Sept. 8, 2022),    PUBLIC
                    https://values.snap.com/news/how-we-prevent-the-spread-of-false-information-on-snapchat

Vol. 2       PX0401 Article: Combating climate misinformation on Pinterest , Pinterest Newsroom (Apr. 8, 2022),             PUBLIC
                    https://newsroom.pinterest.com/news/combating-climate-misinformation-on-pinterest/

Vol. 2       PX0403 Article: Cormac Keenan, An update on our work to counter misinformation , TikTok Newsroom (Sept. 28, PUBLIC
                    2022), https://newsroom.tiktok.com/en-us/an-update-on-our-work-to-counter-misinformation

Vol. 2       PX0406 Webpage: A Map of Meta’s Global Third-Party Fact-Checking Partners , Meta,                              PUBLIC
                    https://www.facebook.com/formedia/mjp/programs/third-party-fact-checking/partner-map

Vol. 2       PX0407 Webpage: Combating Harmful Misinformation , TikTok, https://www.tiktok.com/transparency/en-             PUBLIC
                    us/combating-misinformation

Vol. 2       PX0408 Article: Tim Maytom, Snapchats in-house team of journalists are fact-checking content , Mobile      PUBLIC
                    Marketing Magazine (Aug. 30, 2017), https://mobilemarketingmagazine.com/snapchats-in-house-team-of-
                    journalists-are-fact-checking-content/
Vol. 3       PX0409 Webpage: Snap Safety Advisory Board , Snap Privacy and Safety Hub,                                  PUBLIC
                    https://values.snap.com/safety/safety-advisory-board

Vol. 3       PX0410 Webpage: Audit , EY, https://www.ey.com/en_us/audit                                                     PUBLIC




                                                                   4 of 71
               Case 1:20-cv-03590-JEB                       Document 348                Filed 05/25/24             Page 5 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                            Sealing Treatment


Vol. 3       PX0411 Webpage: Industry Partners , StopNCII.org https://stopncii.org/partners/industry-partners/                PUBLIC


Vol. 3       PX0412 Webpage: Support on Social Media , 988 Suicide & Crisis Lifeline, https://988lifeline.org/help-someone-   PUBLIC
                    else/safety-and-support-on-social-media/

Vol. 3       PX0413 Webpage: About , Global Internet Forum to Counter Terrorism, https://gifct.org/about/                     PUBLIC


Vol. 3       PX0415 Article: Fernanda Weiden, Security At Scale 2014 Recap , Engineering at Meta (Nov. 5, 2014),              PUBLIC
                    https://engineering.fb.com/2014/11/05/security/security-scale-2014-recap/

Vol. 3       PX0419 Webpage: Developing and sharing tools to fight child sexual abuse , Google,                               PUBLIC
                    https://protectingchildren.google/tools-for-partners/

Vol. 3       PX0421 Article: Tracy Ith, Microsoft’s PhotoDNA: Protecting children and businesses in the cloud , Microsoft     PUBLIC
                    (Jul. 15, 2015), https://news.microsoft.com/features/microsofts-photodna-protecting-children-
                    andbusinesses-in-the-cloud/
Vol. 3       PX0424 Webpage: YouTube Community Guidelines enforcement , Google Transparency Report,                           PUBLIC
                    https://transparencyreport.google.com/youtube-policy/removals

Vol. 3       PX0425 Webpage: Snapchat Transparency Report January 1, 2023 – June 30, 2023 , Snap Privacy and Safety           PUBLIC
                    Hub, https://values.snap.com/privacy/transparency

Vol. 3       PX0426 Article: Community Guidelines Enforcement Report , TikTok (Mar. 19, 2024),                                PUBLIC
                    https://www.tiktok.com/transparency/en-us/community-guidelines-enforcement-2023-4/

Vol. 3       PX0427 Webpage: Community Report , LinkedIn Transparency,                                                        PUBLIC
                    https://about.linkedin.com/transparency/community-report

Vol. 3       PX0435 Public Document: Meta Platforms, Inc. Form 10-K (2022)                                                    PUBLIC


Vol. 3       PX0470 Article: Dan Milmo, Facebook: some high-profile users ‘allowed to break platform’s rules’ , The           PUBLIC
                    Guardian (Sept. 13, 2021), https://www.theguardian.com/technology/2021/sep/13/facebook-some-high-
                    profile-users-allowed-to-break-platforms-rules
Vol. 3       PX0477 Article: David Thiel, Renee DiResta and Alex Stamos, Cross-Platform Dynamics of Self-Generated            PUBLIC
                    CSAM , Stan. Internet Observatory (June 7, 2023),
                    https://stacks.stanford.edu/file/druid:jd797tp7663/20230606-sio-sg-csam-report.pdf
Vol. 3       PX0478 Article: Jeff Horwitz and Katherine Blunt, Instagram Connects Vast Pedophile Network , WSJ (June 7,       PUBLIC
                    2023), https://www/wsj.com/articles/instagram-vast-pedophile-network-4ab7189.

Vol. 3       PX0480 Article: An update on the SG-CSAM ecosystem , Stanford Cyber Policy Center (Sept. 21, 2023),              PUBLIC
                    https://cyber.fsi.stanford.edu/news/update-sg-csam-ecosystem.

Vol. 3       PX0481 Article: Jeff Horwitz and Katherine Blunt, Instagram’s Algorithm Delivers Toxic Video Mix to Adults PUBLIC
                    Who Follow Children, WSJ (Nov. 27, 2023), https://www.wsj.com/tech/meta-instagram-video-algorithm-
                    children-adultsexual-content-72874155
Vol. 3       PX0483 Webpage: Introduction to the Advertising Standards , Meta: Transparency Center,                     PUBLIC
                    https://transparency.fb.com/policies/ad-standards/

Vol. 3       PX0484 Article: “We’re going to kill you all”: Death threats against US election workers approved on Facebook , PUBLIC
                    Global Witness (Dec. 1, 2022), https://www.globalwitness.org/en/campaigns/digital-threats/were-going-to-
                    kill-you-all-facebookfails-to-detect-death-threats-against-election-workers-in-the-us-while-youtube-and-
Vol. 3       PX0485 Article: Stuart Thompson, Facebook Failed to Stop Ads Threatening Election Workers , NY Times (Dec. PUBLIC
                    1, 2022), https://www.nytimes.com/2022/12/01/technology/facebook-ads-threats.html.

Vol. 3       PX0486 Public Document: Arturo Bejar, Social Media and the Teen Mental Health Crisis: Before the                 PUBLIC
                    Subcommittee on Privacy, Technology, and the Law; S. Comm. on the Judiciary 5, 118th Cong. (Nov. 7,
                    2023)




                                                                     5 of 71
               Case 1:20-cv-03590-JEB                      Document 348               Filed 05/25/24               Page 6 of 71


                                                      Federal Trade Commission
                                                            Exhibit Index
Volume No.   Ex No.   Description                                                                                           Sealing Treatment


Vol. 3       PX0492 Public Document: Google Inc., SEC Form 10-K (2011)                                                      PUBLIC


Vol. 3       PX0496 Webpage: Introducing Snap Kit , Snap, https://newsroom.snap.com/introducing-snap-kit.                   PUBLIC


Vol. 3       PX0497 Article: Full video and transcript: Snap CEO Evan Spiegel at Code 2018 , Vox (Jun. 8, 2018),            PUBLIC
                    https://www.vox.com/2018/5/30/17397120/snap-ceo-evan-spiegel-transcript-code-2018.

Vol. 3       PX0498 Public Document: LEAR, Ex-post Assessment of Merger Control Decisions in Digital Markets: Final         PUBLIC
                    Report (May 9, 2019), https://www.learlab.com/wp-
                    content/uploads/2019/06/CMA past digital mergers GOV.UK version-1.pdf
Vol. 3       PX0499 Working Paper: E. Brynjolfsson, et al., The Digital Welfare of Nations: New Measures of Welfare Gains   PUBLIC
                    and Inequality , (NBER Working Paper 31670, Sep. 2023), http://www.nber.org/papers/w31670)

Vol. 3       PX0501 Article: Yasmeen Abutaleb, Facebook’s Instagram Adds New Photo Sizes To Keep Users, Attract Ads ,      PUBLIC
                    Reuters (Aug. 27, 2015), https://www.reuters.com/article/facebook-instagram-layout/facebooksinstagram-
                    adds-new-photo-sizes-to-keep-users-attract-ads-idUSL1N1121OP20150827.
Vol. 3       PX0503 Blog Post: Moxie Marlinspike, Open Whisper Systems partners with WhatsApp to provide end-to-end        PUBLIC
                    encryption, Signal (Nov. 18, 2014), https://signal.org/blog/whatsapp/.

Vol. 3       PX0505 Blog Post: Growing Our Tools for Business, WhatsApp Blog (Aug. 1, 2018),                                PUBLIC
                    https://blog.whatsapp.com/growing-our-tools-for-business.

Vol. 3       PX0509 Article: Antigone Davis & Guy Rosen, Open-Sourcing Photo- and Video-Matching Technology to Make PUBLIC
                    the Internet Safer , Meta Newsroom, Aug. 1, 2019, https://about.fb.com/news/2019/08/open-source-photo-
                    video-matching/
Vol. 4       PX0510 Article: Aisha Malik, TikTok expands max video length to 10 minutes, up from 3 minutes , Tech Crunch    PUBLIC
                    (Feb. 28, 2022), https://techcrunch.com/2022/02/28/tiktok-expands-max-video-length-to-10-minutes-up-
                    from-3-minutes/
Vol. 4       PX0511 Article: Mia Sato, TikTok introduces paywalled content, with videos up to 20 minutes long , The Verge   PUBLIC
                    (Mar. 7, 2023), https://www.theverge.com/2023/3/7/23628202/tiktok-paywalled-content-series-
                    monetization-longer-videos
Vol. 4       PX0512 Article: Jessica Bursztynsky and Jennifer Elias, Pinterest CEO Ben Silberman is stepping down and the   PUBLIC
                    stock is up , CNBC (June 28, 2022), https://www.cnbc.com/2022/06/28/pinterest-shares-pop-on-report-ceo-
                    ben-silbermann-is-stepping-down.html
Vol. 4       PX0513 Journal Article: Stephanie Smith & Brandi Watkins, Millennials’ Uses and Gratifications on LinkedIn:    PUBLIC
                    Implications for Recruitment and Retention , 60 Int’l Journal of Bus. Commc’n 560 (2023).

Vol. 4       PX0514 Webpage: How can I change who can see My Story on Snapchat? , Snapchat Support,                        PUBLIC
                    https://help.snapchat.com/hc/en-us/articles/7012279488532-How-can-I-change-who-can-see-My-Story-on-
                    Snapchat
Vol. 4       PX0515 Webpage: Where did my ‘Everyone’ privacy setting option for My Story go? , Snapchat Support,           PUBLIC
                    https://help.snapchat.com/hc/en-us/articles/14697065507092-Where-did-my-Everyone-privacy-setting-
                    option-for-My-Story-go.
Vol. 4       PX0516 Blog Post: Claire Sission, Five ways Microsoft Teams has transformed Microsoft, Microsoft Teams Blog, PUBLIC
                    (Apr. 30, 2024), https://www.microsoft.com/insidetrack/blog/five-ways-microsoft-teams-has-transformed-
                    microsoft/
Vol. 4       PX0517 Public Document: Opinion of the Commission, In the Matter of Cambridge Analytica, LLC, Dkt. No. 9383 PUBLIC
                    (F.T.C. Nov. 25, 2019).

Vol. 4       PX0525 Article: Coen Teunissen and Sarah Napier, Child sexual abuse material and end-to-end encryption on PUBLIC
                    social media platforms: An overview , Australian Institute of Criminology (July 2022),
                    https://www.aic.gov.au/sites/default/files/2022-07/ti653_csam_and_end-
Vol. 4       PX0526 Article: Combatting Online Harms Through Innovation , Federal Trade Commission (June 16, 2022),    PUBLIC
                    https://www.ftc.gov/system/files/ftc_gov/pdf/Combatting%20Online%20Harms%20Through%20Innovati
                    on%3B%20Federal%20Trade%20Commission%20Report%20to%20Congress.pdf
Vol. 4       PX0527 Webpage: Snapchat Moderation, Enforcement, and Appeals , Snap Privacy and Safety Hub,              PUBLIC
                    https://values.snap.com/privacy/transparency/community-guidelines/moderation




                                                                   6 of 71
               Case 1:20-cv-03590-JEB                       Document 348                Filed 05/25/24              Page 7 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                           Sealing Treatment


Vol. 4       PX0530 Webpage: Report violations , X Help Center, https://help.twitter.com/en/rules-and-policies/x-report-     PUBLIC
                    violation

Vol. 4       PX0531 Webpage: Report inappropriate videos, channels, and other content on YouTube , YouTube Help,             PUBLIC
                    https://support.google.com/youtube/answer/2802027?hl=en&co=GENIE.Platform%3DAndroid

Vol. 4       PX0533 Webpage: How do I report abuse or illegal content on Snapchat? , Snapchat Support,                     PUBLIC
                    https://help.snapchat.com/hc/en-us/articles/7012399221652-How-do-I-report-abuse-or-illegal-content-on-
                    Snapchat
Vol. 4       PX0534 Webpage: Report something on Pinterest , Pinterest help, https://help.pinterest.com/en/article/report- PUBLIC
                    something-on-pinterest

Vol. 4       PX0535 Webpage: Suicide and Self-harm policy , X Help, https://help.twitter.com/en/rules-and-policies/glorifying- PUBLIC
                    self-harm

Vol. 4       PX0536 Webpage: Threats, Violence & Harm Community Guidelines Explainer Series , Snap Privacy and Safety        PUBLIC
                    Hub, https://values.snap.com/privacy/transparency/community-guidelines/threats

Vol. 5       PX0537 Webpage: Suicide, self-harm, and eating disorders policy , YouTube Help,                                 PUBLIC
                    https://support.google.com/youtube/answer/2802245

Vol. 5       PX0538 Webpage: Wellbeing Features on Snapchat , Snapchat Support, https://help.snapchat.com/hc/en-             PUBLIC
                    us/articles/7012398974612-Wellbeing-Features-on-Snapchat (last visited Apr. 1, 2024).

Vol. 5       PX0541 Webpage: Membership , Global Internet Forum to Counter Terrorism, https://gifct.org/membership/          PUBLIC


Vol. 5       PX0545 Public Document: Fourth Quarter 2021 Results Conference Call, Meta Platforms, Inc. (FB) (Feb. 2,     PUBLIC
                    2022),
                    https://s21.q4cdn.com/399680738/files/doc_financials/2021/q4/Meta-Q4-2021-Earnings-Call-
Vol. 5       PX0546 Public Document: TikTok’s Response to the ACCC’s Report on Social Media Services Issues Paper, Sept. PUBLIC
                    29, 2022

Vol. 5       PX0547 Journal Article: Catherine Tucker, Digital Data, Platforms and the Usual [Antitrust] Suspects: Network   PUBLIC
                    Effects, Switching Costs, Essential Facility, Review of Infustrial Organization (2019)

Vol. 5       PX0548 Article: Josh Constine, 45 Privacy Changes Facebook Will Make to Comply with Data Protection Law ,       PUBLIC
                    TechCrunch (Dec. 21, 2011), https://techcrunch.com/2011/12/21/privacy-changes-audit/.

Vol. 5       PX0549 Article: Erin Egan & David Baser, Now You Can See and Control the Data That Apps and Websites            PUBLIC
                    Share with Facebook , Meta (Aug. 20, 2019), https://about.fb.com/news/2019/08/off-facebook-activity/.

Vol. 5       PX0550 Press Release: Introducing Privacy Center , Meta (Jan. 7, 2022),                                         PUBLIC
                    https://about.fb.com/news/2022/01/introducing-privacy-center

Vol. 5       PX0551 Article: Aisha Malik, Meta Rolls Out New Privacy Updates for Teens on Instagram and Facebook ,       PUBLIC
                    TechCrunch (Nov. 21, 2022), https://techcrunch.com/2022/11/21/meta-rolls-out-new-privacy-updates-
                    teens-instagram-facebook/
Vol. 5       PX0552 Press Release: Facebook and Instagram to Offer Subscription for No Ads in Europe , Meta (Oct. 30,    PUBLIC
                    2023), https://about.fb.com/news/2023/10/facebook-and-instagram-to-offer-subscription-for-no-ads-in-
                    europe/
Vol. 5       PX0553 Webpage: Setting up your new group , Meta, https://www.facebook.com/community/getting-started-with- PUBLIC
                    groups/how-to-set-up-a-facebook-group/

Vol. 5       PX0554 Webpage: Amazon Personalize , Amazon, https://aws.amazon.com/personalize/                                PUBLIC


Vol. 5       PX0555 Article: Katie Collins, WhatsApp on iPhone Now Charges Small Annual Subscription Fee , Wired (July       PUBLIC
                    17, 2013), https://www.wired.com/story/whatsapp-on-ios-now-free/




                                                                     7 of 71
               Case 1:20-cv-03590-JEB                       Document 348                Filed 05/25/24             Page 8 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                           Sealing Treatment


Vol. 5       PX0556 Public Document: Meta Platforms, Inc. SEC Form 10K (2023)                                                PUBLIC


Vol. 6       PX0557 Public Document: Apple Presents iPhone 4 , Apple Press Release (June 7, 2010),                           PUBLIC
                    https://www.apple.com/newsroom/2010/06/07Apple-Presents-iPhone-4/

Vol. 6       PX0558 Blog Post: Instagram and Facebook: Looking Ahead, Instagram Blog,                                        PUBLIC
                    https://web.archive.org/web/20120908231224/http://blog.instagram.com/post/30996220545/instagram-
                    andfacebook-looking-ahead-this-is-an
Vol. 6       PX0559 Public Document: Facebook, Inc., Amendment No. 2 SEC Form S1 (March 7, 2012)                             PUBLIC


Vol. 6       PX0560 Article: Josh Constine, Facebook for Android Finally Has More Daily Active Users than Facebook for       PUBLIC
                    iPhone , TechCrunch (Dec. 17, 2011),https://techcrunch.com/2011/12/17/facebook-android-iphone/

Vol. 6       PX0561 Article: Jason Kincaid, After Months Of Buzz, Path Launches: It’s Photo Sharing Where You Can Be         PUBLIC
                    Yourself , Tech Crunch (Nov. 15, 2010), https://techcrunch.com/2010/11/14/path-photo-sharing

Vol. 6       PX0562 Article: Jason Kincaid, Picplz Launches Revamped Mobile Apps For iPhone And Android (With Free           PUBLIC
                    Effects), Tech Crunch (Oct. 13, 2010), https://techcrunch.com/2010/10/13/picplz-launches-revamped-
                    mobile-apps-for-iphone-andandroid-with-free-effects
Vol. 6       PX0563 Article: Colleen Taylor, PicPlz Founder Dalton Caldwell: All This Gossip About The Instagram Sale Is     PUBLIC
                    ‘A Waste Of Time’ , Tech Crunch (Apr. 20, 2012), https://techcrunch.com/2012/04/20/picplz-founder-
                    daltoncaldwell-instagra-andreessen-horowitz
Vol. 6       PX0564 Article: MG Siegler, A Mobile Photo Sharing Casualty, Treehouse Hits the Deadpool; Founder Off To        PUBLIC
                    Google , Tech Crunch (Mar. 1, 2011), https://techcrunch.com/2011/03/01/treehousedeadpool

Vol. 6       PX0565 Article: India Adds 54 More Chinese Apps to Ban List; Sea Says It Complies with Laws, Reuters (Feb. 15, PUBLIC
                    2022), https://www.reuters.com/world/india/sea-owned-game-free-fire-unavailable-india-after-ban-chinese-
                    apps-2022-02-15/.
Vol. 6       PX0566 Journal Article: Franklin M. Fisher & John J. McGowan, On the Misuse of Accounting Rates of Return to PUBLIC
                    Infer Monopoly Profits, The American Economic Review Vol. 73, No. 1 (Mar. 1983)

Vol. 6       PX0567 Book: Daron Acemoğlu, David Laibson, and John List, Microeconomics (2d ed. 2016) (Excerpt)               PUBLIC


Vol. 6       PX0568 Article: Kim-Mai Cutler, Spam-Fighting Startup Impermium Joins Google, Discontinues Third-Party          PUBLIC
                    Services , Tech Crunch (Jan. 15, 2014), https://techcrunch.com/2014/01/15/impermium-google/

Vol. 6       PX0569 Blog Post: Marty Weiner, Fighting spam at Pinterest, Pinterest Engineering Blog (Feb. 20, 2015),         PUBLIC
                    https://medium.com/pinterest-engineering/fighting-spam-at-pinterest-78f4e7dc4727

Vol. 6       PX0570 Webpage: IP Geolocation and Intelligence Databases and Web Services , MaxMind,                           PUBLIC
                    https://www.maxmind.com/en/solutions/ip-geolocation-databases-api-services

Vol. 6       PX0571 Webpage: Multichannel authentication at scale with Verify , Twilio, https://www.twilio.com/en-us/user-   PUBLIC
                    authentication-identity/verify

Vol. 6       PX0572 Webpage: Sign in with Google , Google Account Help,                                                      PUBLIC
                    https://support.google.com/accounts/answer/12849458?hl=en#:~:text=Sign%20in%20with%20Google%2
                    0helps,developers%20that%20aren%27t%20Google
Vol. 6       PX0573 Webpage: Authenticating users with Sign in with Apple , Apple Developer,                                 PUBLIC
                    https://developer.apple.com/documentation/sign_in_with_apple/sign_in_with_apple_rest_api/authenticati
                    ng_users_with_sign_in_with_apple
Vol. 6       PX0574 Article: Nick Hopkins, Facebook moderators: a quick guide to their job and its challenges , The Guardian PUBLIC
                    (May 21, 2017), https://www.theguardian.com/news/2017/may/21/facebook-moderators-quick-guide-job-
                    challenges
Vol. 6       PX0575 Webpage: NCMEC, Google and Image Hashing Technology , Google Safety Center,                              PUBLIC
                    https://safety.google/stories/hash-matching-to-help-ncmec/




                                                                    8 of 71
               Case 1:20-cv-03590-JEB                      Document 348                Filed 05/25/24             Page 9 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                           Sealing Treatment


Vol. 6       PX0577 Blog: The YouTube Team, An update on our commitment to fight violent extremist content online ,          PUBLIC
                    YouTube Blog (Oct. 17, 2017), https://blog.youtube/news-and-events/an-update-on-our-commitment-to-
                    fight/
Vol. 6       PX0578 Webpage: Hateful Content, Terrorism, and Violent Extremism Community Guidelines Explainer Series ,       PUBLIC
                    Snap Privacy and Safety Hub, https://values.snap.com/privacy/transparency/community-
                    guidelines/hateful-content
Vol. 6       PX0579 Article: Julie de Bailliencourt, Partnering to prevent violent extremism , TikTok (Sept. 8, 2022),       PUBLIC
                    https://newsroom.tiktok.com/en-us/partnering-to-prevent-violent-extremism

Vol. 6       PX0580 Webpage: Engaging our Advisory Councils , TikTok,                                                        PUBLIC
                    https://www.tiktok.com/transparency/en/advisorycouncils/

Vol. 6       PX0581 Article: Digital Crimes Unit: Leading the fight against cybercrime , Microsoft (May 3, 2022),            PUBLIC
                    https://news.microsoft.com/on-the-issues/2022/05/03/how-microsofts-digital-crimes-unit-fights-
                    cybercrime/
Vol. 6       PX0582 Blog Post: Guy Rosen, Facebook Publishes Enforcement Numbers for the First Time , Meta (May 15,          PUBLIC
                    2018), https://about.fb.com/news/2018/05/enforcement-numbers/

Vol. 6       PX0583 Article: Guy Rosen, Community Standards Enforcement Report, November 2019 Edition , Meta (Nov. 13, PUBLIC
                    2019), https://about.fb.com/news/2019/11/community-standards-enforcement-report-nov-2019/

Vol. 6       PX0584 Article: Steven Rosenbush, Big Tech Is Spending Billions on AI Research. Investors Should Keep an Eye    PUBLIC
                    Out , WSJ (Mar. 8, 2022), https://www.wsj.com/articles/big-tech-is-spending-billionson-ai-research-
                    investors-should-keep-an-eye-out-11646740800
Vol. 6       PX0585 Public Document: Kakao Investor Relations Presentation for 4th Quarter and FY2015 Results,               PUBLIC
                    https://www.kakaocorp.com/upload_resources/ir/siljeok/siljeok_20160205080506.pdf

Vol. 6       PX0586 Blog Post: Jennifer O’Connor and Emily Moxley, Our approach to responsible AI innovation , YouTube PUBLIC
                    Blog (Nov. 14, 2023), https://blog.youtube/inside-youtube/our-approach-to-responsible-ai-
                    innovation/#:~:text=In%20our%20systems%2C%20AI%20classifiers,of%20our%20content%20moderatio
Vol. 6       PX0587 Blog Post: Abhishek Chandak, Augmenting our content moderation efforts through machine learning and PUBLIC
                    dynamic content prioritization , LinkedIn Engineering Blog (Nov. 27, 2023),
                    https://www.linkedin.com/blog/engineering/trust-and-safety/augmenting-our-content-moderation-efforts-
Vol. 6       PX0588 Article: Rachyl Jones, TikTok CEO Shou Zi Chew Increasing Use of AI in Content Moderation , Observer PUBLIC
                    (Apr. 21, 2023), https://observer.com/2023/04/tiktok-ceo-shou-zi-chew-increasing-ai-content-moderation/

Vol. 6       PX0589 Blog Post: James Verbus, Detecting and preventing abuse on LinkedIn using isolation forests , LinkedIn   PUBLIC
                    Engineering Blog (Aug. 13, 2019), https://engineering.linkedin.com/blog/2019/isolation-forest

Vol. 7       PX0590 Journal Article: Alon Halevy et al., Preserving Integrity in Online Social Networks , 65 Communications PUBLIC
                    of the ACM 2 (Feb. 2022), https://cacm.acm.org/magazines/2022/2/258232-preserving-integrity-in-online-
                    socialnetworks/fulltext
Vol. 7       PX0591 Article: Gabriel Nicholas and Aliya Bhatia, Lost in Translation Large Language Models in Non-English PUBLIC
                    Content Analysis , Center for Democracy & Technology (May 2023), https://cdt.org/wp-
                    content/uploads/2023/05/non-en-content-analysis-primer-051223-1203.pdf
Vol. 7       PX0592 Webpage: Generate text, code, video, audio, and images from virtually any content type , Google Cloud, PUBLIC
                    https://cloud.google.com/use-cases/multimodal-ai#common-uses

Vol. 7       PX0593 Webpage: Homepage, @Scale Conferences, https://atscaleconference.com/                                    PUBLIC


Vol. 7       PX0594 Video: @Scale, Gregg Stefancik: Welcome to Spam Fighting @Scale, YouTube (May 14, 2015),                 PUBLIC
                    https://youtu.be/pLUZIHzorgY (Execrpt)

Vol. 7       PX0595 Webpage: Engineering at Meta , Meta, https://engineering.fb.com/                                         PUBLIC


Vol. 7       PX0596 Webpage: Publications , Meta,                                                                            PUBLIC
                    https://ai.meta.com/results/?content_types%5B0%5D=publication&research_areas%5B0%5D=integrity




                                                                    9 of 71
              Case 1:20-cv-03590-JEB                      Document 348                Filed 05/25/24             Page 10 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                        Sealing Treatment


Vol. 7       PX0597 Article: Teng Xu et al., Deep Entity Classification: Abusive Account Detection for Online Social      PUBLIC
                    Networks , Meta Research (Nov. 11, 2020), https://research.facebook.com/publications/deep-entity-
                    classification-abusive-account-detection-for-online-social-networks/
Vol. 7       PX0598 Blog Post: Ryan Dansby et al., AI advances to better detect hate speech , Meta (May 12, 2020),        PUBLIC
                    https://ai.meta.com/blog/ai-advances-to-better-detect-hate-speech/

Vol. 7       PX0599 Webpage: Spam Fighting 2016 , @Scale Conferences, https://atscaleconference.com/events/spam-fighting- PUBLIC
                    2016/

Vol. 7       PX0600 Blog Post: Herve Robert, Spam Fighting @Scale 2016 , Engineering at Meta (Nov. 18, 2016),             PUBLIC
                    https://engineering.fb.com/2016/11/18/security/spam-fighting-scale-2016/

Vol. 7       PX0601 Webpage: Fighting Abuse @Scale 2018 , @Scale Conferences,                                             PUBLIC
                    https://atscaleconference.com/events/fighting-abuse-scale/#global__section-speakers-moderators-5139

Vol. 7       PX0602 Blog Post: 2018 @Scale Conference recap , Engineering by Meta (Sep. 17, 2018),                        PUBLIC
                    https://engineering.fb.com/2018/09/17/android/2018-scale-conference-recap/

Vol. 7       PX0603 Webpage: Fighting Abuse @Scale 2019 , @Scale Conferences,                                             PUBLIC
                    https://atscaleconference.com/events/fighting-abuse-scale-2019/

Vol. 7       PX0604 Blog Post: Fighting Abuse @Scale 2019 recap , Engineering at Meta (Dec. 13, 2019),                    PUBLIC
                    https://engineering.fb.com/2019/12/13/security/fighting-abuse-scale-2019/

Vol. 7       PX0605 Webpage: Publications , Google Research, https://research.google/pubs/?&category=security-privacy-and- PUBLIC
                    abuse-prevention

Vol. 7       PX0606 Webpage: Engineering Blog , LinkedIn, https://www.linkedin.com/blog/engineering                       PUBLIC


Vol. 7       PX0607 Blog Post: Yi-Wei Lin, Leveraging behavior analytic computation for anti-abuse defenses , LinkedIn       PUBLIC
                    Engineering Blog (Feb. 11, 2021), https://www.linkedin.com/blog/engineering/trust-and-safety/leveraging-
                    behavior-analytic-computation-for-anti-abuse-defenses
Vol. 7       PX0608 Blog Post: Nick Fohs and Nupur Gholap, How we rolled out security keys at Twitter , X Engineering (Oct. PUBLIC
                    27, 2021), https://blog.x.com/engineering/en_us

Vol. 7       PX0609 Webpage: reCAPTCHA , Google for Developers, https://developers.google.com/recaptcha/                  PUBLIC


Vol. 7       PX0610 Video Transcript: Mark Zuckerberg at Mobile World Congress 2014, https://youtu.be/vgoctV4AcNw         PUBLIC


Vol. 7       PX0611 Article: Nick Shortway, Migrating from AWS to AWS, Instagram Engineering (Oct. 23, 2014),             PUBLIC
                    https://instagram-engineering.com/migrating-from-aws-to-aws-f4b16a65e13c

Vol. 7       PX0612 Article: Thomas Ricker, Meet the L-Team, the most powerful group in Google , The Verge (Dec. 17,      PUBLIC
                    2011), https://www.theverge.com/2011/12/17/2642303/meet-the-l-team-the-most-powerful-group-in-
                    google
Vol. 7       PX0613 Webpage: Neil Shen, Founding and Managing Partner, Sequoia Capital , Forbes Profile,                  PUBLIC
                    https://www.forbes.com/profile/neil-shen/?sh=609487c221ff

Vol. 7       PX0614 Webpage: Ma Huateng, Chairman and CEO, Tencent Holdings , Forbes Profile,                             PUBLIC
                    https://www.forbes.com/profile/ma-huateng/?sh=630e9f3e5437

Vol. 7       PX0615 Webpage: Sharing results: Community Standards Enforcement Report , Meta: Transparency Center,         PUBLIC
                    https://transparency.meta.com/mg-mg/policies/improving/sharing-results-enforcement-report/

Vol. 7       PX0616 Webpage: Content actioned , Meta: Transparency Center, https://transparency.meta.com/mg-              PUBLIC
                    mg/policies/improving/content-actioned-metric/




                                                                   10 of 71
              Case 1:20-cv-03590-JEB                      Document 348                Filed 05/25/24             Page 11 of 71


                                                      Federal Trade Commission
                                                            Exhibit Index
Volume No.   Ex No.    Description                                                                                         Sealing Treatment


Vol. 7       PX0617 Article: Kara Swisher, Mark Zuckerberg: The Recode Interview , Vox (Jul. 18, 2018),                    PUBLIC
                    https://www.vox.com/2018/7/18/17575156/mark-zuckerberg-interview-facebook-recode-kara-swisher.

Vol. 7       PX0618 Webpage: Child Sexual Exploitation, Abuse, and Nudity , Meta: Transparency Center,                     PUBLIC
                    https://transparency.meta.com/policies/community-standards/child-sexual-exploitation-abuse-nudity/

Vol. 7       PX0619 Press Release: Monika Bickert, Community Standards Enforcement Report, Second Quarter 2022 , Meta PUBLIC
                    Newsroom (Aug. 25, 2022), https://about.fb.com/news/2022/08/community-standards-enforcement-report-
                    q2-2022/
Vol. 7       PX0620 Webpage: Reviewing high-impact content accurately via our cross-check system , Meta: Transparency         PUBLIC
                    Center, https://transparency.meta.com/enforcement/detecting-violations/reviewing-high-visibility-content-
                    accurately/
Vol. 7       PX0621 Webpage: Prevalence , Meta: Transparency Center, https://transparency.meta.com/mg-                        PUBLIC
                    mg/policies/improving/prevalence-metric/

Vol. 7       PX0622 Article: Jeff Weiner, The Future of LinkedIn and the Economic Graph, LinkedIn Pulse (Dec. 10, 2012),   PUBLIC
                    https://www.linkedin.com/pulse/20121210053039-22330283-the-future-of-linkedin-and-the-economic-
                    graph/
Vol. 7       PX0623 Public Document: Insights 2019: App & Social Media Usage, AudienceProject (2019),                      PUBLIC
                    https://audienceproject.com/wp-content/uploads/audienceproject_study_apps_social_media.pdf

Vol. 7       PX0627 Webpage: Ashish Bhatia LinkedIn page , LinkedIn, https://www.linkedin.com/in/ashish-b                  PUBLIC


Vol. 7       PX0628 Webpage: Aydin Senkut LinkedIn page , LinkedIn, https://www.linkedin.com/in/aydins                     PUBLIC


Vol. 7       PX0629 Webpage: Data for Impact: A Partnership for Economic Opportunity, LinkedIn Economic Graph,             PUBLIC
                    https://economicgraph.linkedin.com/data-for-impact#

Vol. 7       PX0630 Article: Vijay Govindarajan & N. Venkat Venkatraman, The Next Great Digital Advantage, Harvard         PUBLIC
                    Business Review (May-June 2022), https://hbr.org/2022/05/the-next-great-digital-advantage

Vol. 7       PX0631 Webpage: Connecting with Other Members - Best Practices, LinkedIn Help ,                               PUBLIC
                    https://www.linkedin.com/help/linkedin/answer/a1340458

Vol. 7       PX0632 Webpage: Build Your Professional Network , LinkedIn Help,                                              PUBLIC
                    https://www.linkedin.com/help/linkedin/answer/a545734

Vol. 7       PX0633 Webpage: Various Ways to Connect with People on LinkedIn, LinkedIn Help,                               PUBLIC
                    https://www.linkedin.com/help/linkedin/answer/a541669

Vol. 7       PX0634 Webpage: Edit Your Profile, LinkedIn Help, https://www.linkedin.com/help/linkedin/answer/a546603       PUBLIC


Vol. 7       PX0635 Webpage: Your Profile Level Meter, LinkedIn Help,                                                      PUBLIC
                    https://www.linkedin.com/help/linkedin/answer/a594698

Vol. 7       PX0636 Webpage: Use LinkedIn Reactions, LinkedIn Help,                                                        PUBLIC
                    https://www.linkedin.com/help/linkedin/answer/a528190

Vol. 7       PX0637 Blog Post: Introducing the Updated Ads Manager , Meta (Sept. 12, 2017),                                PUBLIC
                    https://www.facebook.com/business/news/introducing-the-updated-ads-manager

Vol. 7       PX0638 Webpage: About Nextdoor Connections , Nextdoor Help Center, https://help.nextdoor.com/s/article/About- PUBLIC
                    Nextdoor-Connections?language=en_US

Vol. 7       PX0639 Article: Queenie Wong, Nextdoor Wants You to Connect With Neighbors You May Know, CNET (Feb.           PUBLIC
                    15, 2022), https://www.cnet.com/tech/mobile/nextdoor-wants-you-to-connect-with-neighbors-you-may-
                    know




                                                                   11 of 71
              Case 1:20-cv-03590-JEB                      Document 348                Filed 05/25/24              Page 12 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                            Sealing Treatment


Vol. 7       PX0640 Webpage: Features , Strava, https://www.strava.com/features                                               PUBLIC


Vol. 8       PX0641 Article: Kurt Wagner, How Strava is building a niche social network for athletes — without ads, Vox     PUBLIC
                    (Sep. 30, 2017), https://www.vox.com/2017/9/30/16389990/strava-social-network-athletes-sports-business-
                    james-quarles
Vol. 8       PX0642 Article: Ryan Mac et al., Twitter’s New Chief Eases Into the Hot Seat, NY Times (Jun. 29, 2023),        PUBLIC
                    https://www.nytimes.com/2023/06/29/technology/twitter-ceo-linda-yaccarino.html

Vol. 8       PX0643 Public Document: The "Town Square" in the Social Media Era: A Conversation with Twitter CEO Dick          PUBLIC
                    Costolo, The Brookings Institute (June 26, 2013), https://www.brookings.edu/wp-
                    content/uploads/2013/06/20130626 social media twitter costolo transcript.pdf
Vol. 8       PX0644 Webpage: Sharing , Facebook Developers, https://developers.facebook.com/docs/sharing                      PUBLIC


Vol. 8       PX0645 Webpage: Crossposting , Meta for Media, https://www.facebook.com/formedia/tools/crossposting-from-        PUBLIC
                    instagram-to-facebook/

Vol. 8       PX0646 Webpage: Overview Facebook App Ads , Meta for Developers, https://developers.facebook.com/docs/app- PUBLIC
                    ads/overview

Vol. 8       PX0647 Article: John Asker, Kostis Hatzitaskos, Bob Majure, Ana McDowall, Nathan Miller, and Aviv Nevo,          PUBLIC
                    Comments on the January 2022 DOJ and FTC RFI on Merger Enforcement (Apr. 20, 2022),
                    https://www.regulations.gov/comment/FTC-2022-0003-1847
Vol. 8       PX0648 Journal Article: Nancy Rose & Carl Shapiro, What’s Next for The Horizontal Merger Guidelines,             PUBLIC
                    Antitrust Magazine (Spring 2022)

Vol. 8       PX0649 Journal Article: Kostis Hatzitaskos, Nicholas Hill, and Brad Howells, Aetna-Humana and the Algorithmic PUBLIC
                    Market Definition in the Guidelines , American Bar Assoiation, Antitrust Source (Oct. 2017)

Vol. 8       PX0650 Blog Post: What’s in a name? The case for inclusivity through anonymity, X Common Thread,                 PUBLIC
                    https://blog.twitter.com/common-thread/en/topics/stories/2021/whats-in-a-name-the-case-for-inclusivity-
                    through-anonymity
Vol. 8       PX0653 Webpage: All About Pinterest, Pinterest Help Center, https://help.pinterest.com/en/guide/all-about-       PUBLIC
                    pinterest

Vol. 8       PX0654 Webpage: Instagram Is Offering Huge Bonuses for Posting on Reels, Its Tiktok Clone , Tech Crunch          PUBLIC
                    (November 11, 2021), https://techcrunch.com/2021/11/11/instagram-bonuses-reels-tiktok

Vol. 8       PX0655 Article: Jonathan Vanian, Meta lost $13.7 billion on Reality Labs in 2022 as Zuckerberg’s metaverse bet PUBLIC
                    gets pricier , CNN (Feb. 1, 2023), https://www.cnbc.com/2023/02/01/meta-lost-13point7-billion-on-reality-
                    labs-in-2022-after-metaversepivot.html
Vol. 8       PX0657 Blog Post: One billion messages, WhatsApp Blog (Oct. 31, 2011),                                           PUBLIC
                    http://web.archive.org/web/20111113142706/http://blog.whatsapp.com/index.php/2011/10/one-billion-
                    messages/
Vol. 8       PX0658 Blog Post: Cosette Cressler, Understanding WhatsApp’s Architecture and Subsystem Design, CometChat PUBLIC
                    Blog (Oct. 12, 2021), https://www.cometchat.com/blog/whatsapps-architecture-and-system-design

Vol. 8       PX0659 Article: Todd Hoff, How WhatsApp Grew To Nearly 500 Million Users, 11,000 Cores, And 70 Million           PUBLIC
                    Messages A Second, High Scalability (Mar. 24, 2014), http://highscalability.com/blog/2014/2/26/the-
                    whatsapp-architecture-facebook-bought-for-19-billion.html
Vol. 8       PX0660 Blog Post: Introducing WhatsApp Channels. A Private Way to Follow What Matters, WhatsApp (June 8,         PUBLIC
                    2023), https://blog.whatsapp.com/introducing-whatsapp-channels-a-private-way-to-follow-what-matters

Vol. 8       PX0661 Article: Salvador Rodriguez, IBM acquires cloud computing company SoftLayer for $2 billion , LA Times PUBLIC
                    (June 4, 2013), https://www.latimes.com/business/technology/la-fi-tn-ibm-cloud-computing-softlayer-2-
                    billion-20130604-story html
Vol. 8       PX0662 Blog Post: Introducing Instagram Stories , Instagram (Aug. 2, 2016),                                  PUBLIC
                    https://about.instagram.com/blog/announcements/introducing-instagram-stories




                                                                   12 of 71
              Case 1:20-cv-03590-JEB                      Document 348                Filed 05/25/24              Page 13 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                           Sealing Treatment


Vol. 8       PX0665 Article: Ellis Hamburger, With Hacker attacks on the rise, Facebook Connect emerges as security          PUBLIC
                    solution , The Verge (Jul. 18, 2012), https://www.theverge.com/2012/7/18/3165445/facebook-connect-
                    hackers-formspring
Vol. 8       PX0666 Blog Post: Instagram Today: 200 Million Strong , Instagram (March 27, 2014),                             PUBLIC
                    https://web.archive.org/web/20140327220015/https://blog.instagram.com/post/80721172292/200m

Vol. 8       PX0667 Public Document: Alphabet Inc. SEC Form 10K (Dec. 31, 2021)                                              PUBLIC


Vol. 8       PX0668 Webpage: Company , Pinterest Newsroom, https://newsroom.pinterest.com/company/                           PUBLIC


Vol. 8       PX0669 Article: Mandy Carr, How to Search Pinterest Without Actually Logging In, Screenrant (last updated May PUBLIC
                    2, 2023), https://screenrant.com/search-pinterest-without-logging-in-how/

Vol. 8       PX0670 Webpage: Clients , Connery Consulting, https://www.conneryconsulting.com/clients/                        PUBLIC


Vol. 8       PX0673 Blog Post: MezzFS, Mounting object storage in Netflix’s media platform , Netflix Technology Blog (Mar. PUBLIC
                    6, 2019), https://netflixtechblog.com/mezzfs-mounting-object-storage-innetflixs-media-processing-
                    platform-cda01c446ba
Vol. 8       PX0674 Article: Instagration Pt.2: Scaling our infrastructure to multiple data centers , Instagram Engineering     PUBLIC
                    (Nov. 11, 2015), https://instagramengineering.com/instagration-pt-2-scaling-our-infrastructure-to-multiple-
                    data-centers-5745cbad7834
Vol. 8       PX0675 Article: Open-sourcing a 10x reduction in Apache Cassandra tail latency , Instagram Engineering (Mar. PUBLIC
                    5, 2018), https://instagram-engineering.com/open-sourcing-a-10x-reduction-in-apache-cassandra-tail-
                    latency-d64f86b43589
Vol. 8       PX0676 Book: John L. Hennessey & David A. Peterson, Computer Architecture: A Quantitative Approach 41              PUBLIC
                    (Todd Green & Nate McFadden eds., Morgan Kaufman 5th ed. 2012) (Excerpt)

Vol. 9       PX0677 Blog Post: M.G. Siegler, Instagram Just Geotagged Us to Hell: When Politics Drive Product Decisions,     PUBLIC
                    We All Lose , 500ish (May 12, 2014), https://500ish.com/instagram-just-geotagged-us-to-hell-
                    dad4c3736409
Vol. 9       PX0678 Press Release: The Director General for Competition is considering to impose monetary sanctions on       PUBLIC
                    Facebook a for a violation of the Economic Competition Law by consummating transactions in Israel
                    without the Director General's consent , Isreal Competition Authority,
Vol. 9       PX0679 Public Document: Consent Decree from Israel Competition Authority in matter of Meta Platforms Inc,       PUBLIC
                    January 8, 2024

Vol. 9       PX0680 Article: Elizabeth de Luna, BeReal has 10 months left before it runs out of money, Mashable (Mar. 15,    PUBLIC
                    2024), https://mashable.com/article/bereal-growth-acquisition

Vol. 9       PX0681 Article: IBM SoftLayer Opening Melbourne, Australia Data Center , Data Center Knowledge (Aug. 26,        PUBLIC
                    2014), https://www.datacenterknowledge.com/archives/2014/08/26/softlayer-new-bare-metal-servers/

Vol. 9       PX0682 Journal Article: Dennis W. Carlton, The 2023 Merger Guidelines: A Critical Assessment, Review of         PUBLIC
                    Industrial Organization (2024)

Vol. 9       PX0683 Article: Alex Heath, Why Instagram is taking on Twitter with Threads, The Verge (July 5, 2023), PUBLIC
                    https://www.theverge.com/2023/7/5/23784870/instagram-threads-adam-mosseri-interview-twitter-
                    competitor
Vol. 9       PX0684 Public Document: Competition and Markets Authority, Final Report: Completed acquisition by      PUBLIC
                    Facebook, Inc (now Meta Platforms, Inc) of Giphy, Inc . (Nov. 30, 2021),
                    https://assets.publishing.service.gov.uk/media/61a64a618fa8f5037d67b7b5/Facebook__Meta__GIPHY_-
Vol. 9       PX0685 Webpage: Messenger , Facebook https://m.facebook.com/messengerfacts                             PUBLIC


Vol. 9       PX0686 Press Release: FTC Imposes $5 Billion Penalty and Sweeping New Privacy Restrictions on Facebook ,        PUBLIC
                    Federal Trade Commission (Jul. 24, 2019), https://www.ftc.gov/news-events/news/press-
                    releases/2019/07/ftc-imposes-5-billion-penalty-sweeping-new-privacy-restrictions-facebook




                                                                   13 of 71
              Case 1:20-cv-03590-JEB                       Document 348                Filed 05/25/24             Page 14 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                           Sealing Treatment


Vol. 9       PX0688 Public Document: Transparency report , Pinterest (2023), https://policy.pinterest.com/en/transparency-   PUBLIC
                    report

Vol. 13      PX1002                                                                                                          UNDER SEAL


Vol. 13      PX1006                                                                                                          UNDER SEAL


Vol. 13      PX1009                                                                                                          UNDER SEAL


Vol. 13      PX1012                                                                                                          UNDER SEAL


Vol. 13      PX1013                                                                                                          UNDER SEAL


Vol. 13      PX1017                                                                                                          UNDER SEAL


Vol. 13      PX1019                                                                                                          UNDER SEAL


Vol. 13      PX1036                                                                                                          UNDER SEAL


Vol. 13      PX1047                                                                                                          UNDER SEAL


Vol. 13      PX1086                                                                                                          UNDER SEAL


Vol. 13      PX1102                                                                                                          UNDER SEAL


Vol. 13      PX1103                                                                                                          UNDER SEAL


Vol. 13      PX1115                                                                                                          UNDER SEAL


Vol. 13      PX1116                                                                                                          UNDER SEAL


Vol. 13      PX1127                                                                                                          UNDER SEAL


Vol. 13      PX1135                                                                                                          UNDER SEAL


Vol. 13      PX1136                                                                                                          UNDER SEAL


Vol. 13      PX1137                                                                                                          UNDER SEAL


Vol. 13      PX1138                                                                                                          UNDER SEAL




                                                                    14 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 15 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 13      PX1141                                                                  UNDER SEAL


Vol. 13      PX1153                                                                  UNDER SEAL


Vol. 13      PX1154                                                                  UNDER SEAL


Vol. 13      PX1155                                                                  UNDER SEAL


Vol. 13      PX1163                                                                  UNDER SEAL


Vol. 13      PX1180                                                                  UNDER SEAL


Vol. 13      PX1182                                                                  UNDER SEAL


Vol. 13      PX1186                                                                  UNDER SEAL


Vol. 14      PX1187                                                                  UNDER SEAL


Vol. 14      PX1202                                                                  UNDER SEAL


Vol. 14      PX1204                                                                  UNDER SEAL


Vol. 14      PX1208                                                                  UNDER SEAL


Vol. 14      PX1219                                                                  UNDER SEAL


Vol. 14      PX1230                                                                  UNDER SEAL


Vol. 14      PX1265                                                                  UNDER SEAL


Vol. 14      PX1266                                                                  UNDER SEAL


Vol. 14      PX1284                                                                  UNDER SEAL


Vol. 15      PX1294                                                                  UNDER SEAL


Vol. 15      PX1295                                                                  UNDER SEAL


Vol. 15      PX1297                                                                  UNDER SEAL




                                                15 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 16 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 15      PX1329                                                                  UNDER SEAL


Vol. 15      PX1345                                                                  UNDER SEAL


Vol. 15      PX1363                                                                  UNDER SEAL


Vol. 15      PX1365                                                                  UNDER SEAL


Vol. 15      PX1371                                                                  UNDER SEAL


Vol. 15      PX1410                                                                  UNDER SEAL


Vol. 15      PX1413                                                                  UNDER SEAL


Vol. 15      PX1486                                                                  UNDER SEAL


Vol. 15      PX1491                                                                  UNDER SEAL


Vol. 15      PX1502                                                                  UNDER SEAL


Vol. 15      PX1514                                                                  UNDER SEAL


Vol. 15      PX1554                                                                  UNDER SEAL


Vol. 15      PX1580                                                                  UNDER SEAL


Vol. 15      PX1586                                                                  UNDER SEAL


Vol. 15      PX1590                                                                  UNDER SEAL


Vol. 15      PX1594                                                                  UNDER SEAL


Vol. 15      PX1611                                                                  UNDER SEAL


Vol. 16      PX1620                                                                  UNDER SEAL


Vol. 16      PX1708                                                                  UNDER SEAL


Vol. 16      PX1895                                                                  UNDER SEAL




                                                16 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 17 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 16      PX1901                                                                  UNDER SEAL


Vol. 16      PX1903                                                                  UNDER SEAL


Vol. 16      PX1968                                                                  UNDER SEAL


Vol. 16      PX2019                                                                  UNDER SEAL


Vol. 16      PX2042                                                                  UNDER SEAL


Vol. 16      PX2093                                                                  UNDER SEAL


Vol. 16      PX2104                                                                  UNDER SEAL


Vol. 16      PX2132                                                                  UNDER SEAL


Vol. 16      PX2145                                                                  UNDER SEAL


Vol. 16      PX2227                                                                  UNDER SEAL


Vol. 16      PX2245                                                                  UNDER SEAL


Vol. 17      PX2296                                                                  UNDER SEAL


Vol. 17      PX2331                                                                  UNDER SEAL


Vol. 17      PX2342                                                                  UNDER SEAL


Vol. 17      PX2352                                                                  UNDER SEAL


Vol. 17      PX2356                                                                  UNDER SEAL


Vol. 17      PX2357                                                                  UNDER SEAL


Vol. 17      PX2364                                                                  UNDER SEAL


Vol. 17      PX2373                                                                  UNDER SEAL


Vol. 17      PX2375                                                                  UNDER SEAL




                                                17 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 18 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 18      PX2473                                                                  UNDER SEAL


Vol. 18      PX2474                                                                  UNDER SEAL


Vol. 18      PX2477                                                                  UNDER SEAL


Vol. 18      PX2481                                                                  UNDER SEAL


Vol. 18      PX2488                                                                  UNDER SEAL


Vol. 18      PX2501                                                                  UNDER SEAL


Vol. 18      PX2502                                                                  UNDER SEAL


Vol. 18      PX2508                                                                  UNDER SEAL


Vol. 18      PX2514                                                                  UNDER SEAL


Vol. 18      PX2518                                                                  UNDER SEAL


Vol. 18      PX2519                                                                  UNDER SEAL


Vol. 18      PX2522                                                                  UNDER SEAL


Vol. 18      PX2527                                                                  UNDER SEAL


Vol. 18      PX2532                                                                  UNDER SEAL


Vol. 18      PX2543                                                                  UNDER SEAL


Vol. 18      PX2576                                                                  UNDER SEAL


Vol. 18      PX2577                                                                  UNDER SEAL


Vol. 19      PX2580                                                                  UNDER SEAL


Vol. 19      PX2588                                                                  UNDER SEAL


Vol. 118     PX2592                                                                  UNDER SEAL




                                                18 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 19 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 19      PX2596                                                                  UNDER SEAL


Vol. 19      PX2614                                                                  UNDER SEAL


Vol. 19      PX2616                                                                  UNDER SEAL


Vol. 19      PX2618                                                                  UNDER SEAL


Vol. 20      PX2640                                                                  UNDER SEAL


Vol. 20      PX2646                                                                  UNDER SEAL


Vol. 20      PX2658                                                                  UNDER SEAL


Vol. 20      PX2660                                                                  UNDER SEAL


Vol. 20      PX2664                                                                  UNDER SEAL


Vol. 20      PX2677                                                                  UNDER SEAL


Vol. 20      PX2687                                                                  UNDER SEAL


Vol. 20      PX2689                                                                  UNDER SEAL


Vol. 118     PX2690                                                                  UNDER SEAL


Vol. 21      PX2702                                                                  UNDER SEAL


Vol. 21      PX2706                                                                  UNDER SEAL


Vol. 21      PX2738                                                                  UNDER SEAL


Vol. 21      PX2740                                                                  UNDER SEAL


Vol. 21      PX2746                                                                  UNDER SEAL


Vol. 21      PX2747                                                                  UNDER SEAL


Vol. 22      PX2757                                                                  UNDER SEAL




                                                19 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 20 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 22      PX2759                                                                  UNDER SEAL


Vol. 22      PX2775                                                                  UNDER SEAL


Vol. 23      PX2789                                                                  UNDER SEAL


Vol. 23      PX2799                                                                  UNDER SEAL


Vol. 23      PX2811                                                                  UNDER SEAL


Vol. 23      PX2822                                                                  UNDER SEAL


Vol. 23      PX2831                                                                  UNDER SEAL


Vol. 23      PX2867                                                                  UNDER SEAL


Vol. 23      PX2888                                                                  UNDER SEAL


Vol. 23      PX2892                                                                  UNDER SEAL


Vol. 23      PX2946                                                                  UNDER SEAL


Vol. 23      PX2947                                                                  UNDER SEAL


Vol. 23      PX2948                                                                  UNDER SEAL


Vol. 23      PX2951                                                                  UNDER SEAL


Vol. 23      PX2955                                                                  UNDER SEAL


Vol. 23      PX2959                                                                  UNDER SEAL


Vol. 23      PX2961                                                                  UNDER SEAL


Vol. 23      PX2962                                                                  UNDER SEAL


Vol. 23      PX2963                                                                  UNDER SEAL


Vol. 23      PX2965                                                                  UNDER SEAL




                                                20 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 21 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 23      PX2969                                                                  UNDER SEAL


Vol. 23      PX2970                                                                  UNDER SEAL


Vol. 23      PX2971                                                                  UNDER SEAL


Vol. 23      PX2972                                                                  UNDER SEAL


Vol. 23      PX2974                                                                  UNDER SEAL


Vol. 24      PX2975                                                                  UNDER SEAL


Vol. 24      PX2979                                                                  UNDER SEAL


Vol. 24      PX2980                                                                  UNDER SEAL


Vol. 24      PX2981                                                                  UNDER SEAL


Vol. 24      PX2982                                                                  UNDER SEAL


Vol. 24      PX2983                                                                  UNDER SEAL


Vol. 24      PX2984                                                                  UNDER SEAL


Vol. 24      PX2985                                                                  UNDER SEAL


Vol. 24      PX2986                                                                  UNDER SEAL


Vol. 24      PX2987                                                                  UNDER SEAL


Vol. 24      PX2988                                                                  UNDER SEAL


Vol. 24      PX2989                                                                  UNDER SEAL


Vol. 24      PX2990                                                                  UNDER SEAL


Vol. 24      PX2991                                                                  UNDER SEAL


Vol. 24      PX2992                                                                  UNDER SEAL




                                                21 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 22 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 24      PX2993                                                                  UNDER SEAL


Vol. 24      PX2994                                                                  UNDER SEAL


Vol. 24      PX2995                                                                  UNDER SEAL


Vol. 24      PX2996                                                                  UNDER SEAL


Vol. 24      PX2997                                                                  UNDER SEAL


Vol. 25      PX3001                                                                  UNDER SEAL


Vol. 25      PX3002                                                                  UNDER SEAL


Vol. 25      PX3003                                                                  UNDER SEAL


Vol. 25      PX3005                                                                  UNDER SEAL


Vol. 25      PX3006                                                                  UNDER SEAL


Vol. 25      PX3007                                                                  UNDER SEAL


Vol. 25      PX3008                                                                  UNDER SEAL


Vol. 26      PX3009                                                                  UNDER SEAL


Vol. 26      PX3010                                                                  UNDER SEAL


Vol. 26      PX3011                                                                  UNDER SEAL


Vol. 26      PX3012                                                                  UNDER SEAL


Vol. 26      PX3013                                                                  UNDER SEAL


Vol. 26      PX3015                                                                  UNDER SEAL


Vol. 26      PX3016                                                                  UNDER SEAL


Vol. 27      PX3017                                                                  UNDER SEAL




                                                22 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 23 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 27      PX3019                                                                  UNDER SEAL


Vol. 27      PX3021                                                                  UNDER SEAL


Vol. 27      PX3022                                                                  UNDER SEAL


Vol. 27      PX3023                                                                  UNDER SEAL


Vol. 28      PX3024                                                                  UNDER SEAL


Vol. 28      PX3025                                                                  UNDER SEAL


Vol. 28      PX3026                                                                  UNDER SEAL


Vol. 28      PX3027                                                                  UNDER SEAL


Vol. 28      PX3031                                                                  UNDER SEAL


Vol. 29      PX3032                                                                  UNDER SEAL


Vol. 29      PX3033                                                                  UNDER SEAL


Vol. 29      PX3034                                                                  UNDER SEAL


Vol. 29      PX3035                                                                  UNDER SEAL


Vol. 29      PX3036                                                                  UNDER SEAL


Vol. 29      PX3037                                                                  UNDER SEAL


Vol. 29      PX3038                                                                  UNDER SEAL


Vol. 29      PX3039                                                                  UNDER SEAL


Vol. 29      PX3040                                                                  UNDER SEAL


Vol. 29      PX3041                                                                  UNDER SEAL


Vol. 29      PX3042                                                                  UNDER SEAL




                                                23 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 24 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 29      PX3043                                                                  UNDER SEAL


Vol. 29      PX3044                                                                  UNDER SEAL


Vol. 29      PX3045                                                                  UNDER SEAL


Vol. 29      PX3050                                                                  UNDER SEAL


Vol. 29      PX3051                                                                  UNDER SEAL


Vol. 29      PX3052                                                                  UNDER SEAL


Vol. 29      PX3055                                                                  UNDER SEAL


Vol. 29      PX3059                                                                  UNDER SEAL


Vol. 29      PX3060                                                                  UNDER SEAL


Vol. 29      PX3061                                                                  UNDER SEAL


Vol. 29      PX3062                                                                  UNDER SEAL


Vol. 29      PX3063                                                                  UNDER SEAL


Vol. 29      PX3064                                                                  UNDER SEAL


Vol. 29      PX3066                                                                  UNDER SEAL


Vol. 29      PX3067                                                                  UNDER SEAL


Vol. 29      PX3069                                                                  UNDER SEAL


Vol. 30      PX3070                                                                  UNDER SEAL


Vol. 30      PX3073                                                                  UNDER SEAL


Vol. 30      PX3074                                                                  UNDER SEAL


Vol. 30      PX3075                                                                  UNDER SEAL




                                                24 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 25 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 30      PX3077                                                                  UNDER SEAL


Vol. 30      PX3079                                                                  UNDER SEAL


Vol. 30      PX3080                                                                  UNDER SEAL


Vol. 30      PX3082                                                                  UNDER SEAL


Vol. 30      PX3083                                                                  UNDER SEAL


Vol. 30      PX3084                                                                  UNDER SEAL


Vol. 30      PX3086                                                                  UNDER SEAL


Vol. 30      PX3088                                                                  UNDER SEAL


Vol. 30      PX3089                                                                  UNDER SEAL


Vol. 30      PX3090                                                                  UNDER SEAL


Vol. 30      PX3094                                                                  UNDER SEAL


Vol. 30      PX3095                                                                  UNDER SEAL


Vol. 31      PX3096                                                                  UNDER SEAL


Vol. 31      PX3097                                                                  UNDER SEAL


Vol. 118     PX3098                                                                  UNDER SEAL


Vol. 31      PX3099                                                                  UNDER SEAL


Vol. 118     PX3101                                                                  UNDER SEAL


Vol. 31      PX3102                                                                  UNDER SEAL


Vol. 31      PX3105                                                                  UNDER SEAL


Vol. 31      PX3106                                                                  UNDER SEAL




                                                25 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 26 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 31      PX3111                                                                  UNDER SEAL


Vol. 31      PX3112                                                                  UNDER SEAL


Vol. 31      PX3116                                                                  UNDER SEAL


Vol. 31      PX3117                                                                  UNDER SEAL


Vol. 31      PX3118                                                                  UNDER SEAL


Vol. 31      PX3119                                                                  UNDER SEAL


Vol. 31      PX3120                                                                  UNDER SEAL


Vol. 31      PX3121                                                                  UNDER SEAL


Vol. 31      PX3122                                                                  UNDER SEAL


Vol. 31      PX3123                                                                  UNDER SEAL


Vol. 31      PX3124                                                                  UNDER SEAL


Vol. 31      PX3125                                                                  UNDER SEAL


Vol. 31      PX3126                                                                  UNDER SEAL


Vol. 31      PX3127                                                                  UNDER SEAL


Vol. 31      PX3128                                                                  UNDER SEAL


Vol. 31      PX3129                                                                  UNDER SEAL


Vol. 31      PX3130                                                                  UNDER SEAL


Vol. 31      PX3131                                                                  UNDER SEAL


Vol. 31      PX3132                                                                  UNDER SEAL


Vol. 31      PX3133                                                                  UNDER SEAL




                                                26 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 27 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 31      PX3134                                                                  UNDER SEAL


Vol. 32      PX3136                                                                  UNDER SEAL


Vol. 32      PX3137                                                                  UNDER SEAL


Vol. 32      PX3138                                                                  UNDER SEAL


Vol. 32      PX3139                                                                  UNDER SEAL


Vol. 32      PX3140                                                                  UNDER SEAL


Vol. 32      PX3141                                                                  UNDER SEAL


Vol. 32      PX3142                                                                  UNDER SEAL


Vol. 32      PX3143                                                                  UNDER SEAL


Vol. 32      PX3144                                                                  UNDER SEAL


Vol. 32      PX3145                                                                  UNDER SEAL


Vol. 32      PX3147                                                                  UNDER SEAL


Vol. 32      PX3148                                                                  UNDER SEAL


Vol. 32      PX3149                                                                  UNDER SEAL


Vol. 32      PX3150                                                                  UNDER SEAL


Vol. 33      PX3151                                                                  UNDER SEAL


Vol. 33      PX3152                                                                  UNDER SEAL


Vol. 33      PX3153                                                                  UNDER SEAL


Vol. 33      PX3154                                                                  UNDER SEAL


Vol. 33      PX3160                                                                  UNDER SEAL




                                                27 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 28 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 33      PX3161                                                                  UNDER SEAL


Vol. 33      PX3164                                                                  UNDER SEAL


Vol. 33      PX3165                                                                  UNDER SEAL


Vol. 33      PX3166                                                                  UNDER SEAL


Vol. 33      PX3167                                                                  UNDER SEAL


Vol. 33      PX3168                                                                  UNDER SEAL


Vol. 34      PX3169                                                                  UNDER SEAL


Vol. 34      PX3170                                                                  UNDER SEAL


Vol. 34      PX3172                                                                  UNDER SEAL


Vol. 34      PX3173                                                                  UNDER SEAL


Vol. 34      PX3174                                                                  UNDER SEAL


Vol. 35      PX3175                                                                  UNDER SEAL


Vol. 35      PX3177                                                                  UNDER SEAL


Vol. 35      PX3178                                                                  UNDER SEAL


Vol. 35      PX3179                                                                  UNDER SEAL


Vol. 35      PX3180                                                                  UNDER SEAL


Vol. 35      PX3181                                                                  UNDER SEAL


Vol. 35      PX3182                                                                  UNDER SEAL


Vol. 36      PX3183                                                                  UNDER SEAL


Vol. 36      PX3184                                                                  UNDER SEAL




                                                28 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 29 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 37      PX3185                                                                  UNDER SEAL


Vol. 37      PX3186                                                                  UNDER SEAL


Vol. 37      PX3187                                                                  UNDER SEAL


Vol. 37      PX3188                                                                  UNDER SEAL


Vol. 37      PX3189                                                                  UNDER SEAL


Vol. 37      PX3190                                                                  UNDER SEAL


Vol. 37      PX3191                                                                  UNDER SEAL


Vol. 37      PX3194                                                                  UNDER SEAL


Vol. 37      PX3195                                                                  UNDER SEAL


Vol. 37      PX3196                                                                  UNDER SEAL


Vol. 37      PX3198                                                                  UNDER SEAL


Vol. 37      PX3199                                                                  UNDER SEAL


Vol. 37      PX3200                                                                  UNDER SEAL


Vol. 37      PX3201                                                                  UNDER SEAL


Vol. 37      PX3202                                                                  UNDER SEAL


Vol. 37      PX3204                                                                  UNDER SEAL


Vol. 37      PX3205                                                                  UNDER SEAL


Vol. 37      PX3206                                                                  UNDER SEAL


Vol. 37      PX3207                                                                  UNDER SEAL


Vol. 37      PX3208                                                                  UNDER SEAL




                                                29 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 30 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 38      PX3209                                                                  UNDER SEAL


Vol. 38      PX3210                                                                  UNDER SEAL


Vol. 38      PX3211                                                                  UNDER SEAL


Vol. 38      PX3212                                                                  UNDER SEAL


Vol. 38      PX3213                                                                  UNDER SEAL


Vol. 38      PX3217                                                                  UNDER SEAL


Vol. 118     PX3219                                                                  UNDER SEAL


Vol. 38      PX3221                                                                  UNDER SEAL


Vol. 38      PX3224                                                                  UNDER SEAL


Vol. 38      PX3225                                                                  UNDER SEAL


Vol. 118     PX3226                                                                  UNDER SEAL


Vol. 38      PX3227                                                                  UNDER SEAL


Vol. 38      PX3228                                                                  UNDER SEAL


Vol. 38      PX3229                                                                  UNDER SEAL


Vol. 39      PX3330                                                                  UNDER SEAL


Vol. 39      PX3331                                                                  UNDER SEAL


Vol. 39      PX3332                                                                  UNDER SEAL


Vol. 39      PX3333                                                                  UNDER SEAL


Vol. 39      PX3335                                                                  UNDER SEAL


Vol. 39      PX3336                                                                  UNDER SEAL




                                                30 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 31 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 39      PX3337                                                                  UNDER SEAL


Vol. 39      PX3338                                                                  UNDER SEAL


Vol. 39      PX3339                                                                  UNDER SEAL


Vol. 39      PX3340                                                                  UNDER SEAL


Vol. 39      PX3341                                                                  UNDER SEAL


Vol. 39      PX3342                                                                  UNDER SEAL


Vol. 39      PX3343                                                                  UNDER SEAL


Vol. 39      PX3344                                                                  UNDER SEAL


Vol. 39      PX3345                                                                  UNDER SEAL


Vol. 39      PX3346                                                                  UNDER SEAL


Vol. 39      PX3347                                                                  UNDER SEAL


Vol. 39      PX3348                                                                  UNDER SEAL


Vol. 39      PX3349                                                                  UNDER SEAL


Vol. 39      PX3350                                                                  UNDER SEAL


Vol. 39      PX3351                                                                  UNDER SEAL


Vol. 39      PX3352                                                                  UNDER SEAL


Vol. 39      PX3354                                                                  UNDER SEAL


Vol. 39      PX3355                                                                  UNDER SEAL


Vol. 39      PX3356                                                                  UNDER SEAL


Vol. 39      PX3357                                                                  UNDER SEAL




                                                31 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 32 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 39      PX3358                                                                  UNDER SEAL


Vol. 40      PX3359                                                                  UNDER SEAL


Vol. 40      PX3360                                                                  UNDER SEAL


Vol. 40      PX3361                                                                  UNDER SEAL


Vol. 40      PX3362                                                                  UNDER SEAL


Vol. 40      PX3363                                                                  UNDER SEAL


Vol. 41      PX3364                                                                  UNDER SEAL


Vol. 41      PX3365                                                                  UNDER SEAL


Vol. 42      PX3367                                                                  UNDER SEAL


Vol. 42      PX3368                                                                  UNDER SEAL


Vol. 42      PX3369                                                                  UNDER SEAL


Vol. 42      PX3370                                                                  UNDER SEAL


Vol. 42      PX3371                                                                  UNDER SEAL


Vol. 42      PX3372                                                                  UNDER SEAL


Vol. 42      PX3373                                                                  UNDER SEAL


Vol. 42      PX3374                                                                  UNDER SEAL


Vol. 42      PX3375                                                                  UNDER SEAL


Vol. 42      PX3376                                                                  UNDER SEAL


Vol. 42      PX3377                                                                  UNDER SEAL


Vol. 42      PX3378                                                                  UNDER SEAL




                                                32 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 33 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 42      PX3379                                                                  UNDER SEAL


Vol. 42      PX3380                                                                  UNDER SEAL


Vol. 42      PX3381                                                                  UNDER SEAL


Vol. 42      PX3382                                                                  UNDER SEAL


Vol. 42      PX3383                                                                  UNDER SEAL


Vol. 42      PX3384                                                                  UNDER SEAL


Vol. 42      PX3385                                                                  UNDER SEAL


Vol. 42      PX3386                                                                  UNDER SEAL


Vol. 42      PX3387                                                                  UNDER SEAL


Vol. 43      PX3388                                                                  UNDER SEAL


Vol. 43      PX3389                                                                  UNDER SEAL


Vol. 43      PX3390                                                                  UNDER SEAL


Vol. 43      PX3391                                                                  UNDER SEAL


Vol. 43      PX3392                                                                  UNDER SEAL


Vol. 43      PX3393                                                                  UNDER SEAL


Vol. 43      PX3394                                                                  UNDER SEAL


Vol. 43      PX3395                                                                  UNDER SEAL


Vol. 43      PX3396                                                                  UNDER SEAL


Vol. 43      PX3397                                                                  UNDER SEAL


Vol. 43      PX3400                                                                  UNDER SEAL




                                                33 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 34 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 43      PX3401                                                                  UNDER SEAL


Vol. 43      PX3402                                                                  UNDER SEAL


Vol. 43      PX3404                                                                  UNDER SEAL


Vol. 44      PX3405                                                                  UNDER SEAL


Vol. 44      PX3406                                                                  UNDER SEAL


Vol. 44      PX3407                                                                  UNDER SEAL


Vol. 44      PX3409                                                                  UNDER SEAL


Vol. 44      PX3410                                                                  UNDER SEAL


Vol. 44      PX3411                                                                  UNDER SEAL


Vol. 44      PX3412                                                                  UNDER SEAL


Vol. 44      PX3413                                                                  UNDER SEAL


Vol. 44      PX3414                                                                  UNDER SEAL


Vol. 44      PX3415                                                                  UNDER SEAL


Vol. 44      PX3416                                                                  UNDER SEAL


Vol. 44      PX3417                                                                  UNDER SEAL


Vol. 44      PX3418                                                                  UNDER SEAL


Vol. 45      PX3419                                                                  UNDER SEAL


Vol. 45      PX3420                                                                  UNDER SEAL


Vol. 45      PX3421                                                                  UNDER SEAL


Vol. 45      PX3422                                                                  UNDER SEAL




                                                34 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 35 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 45      PX3423                                                                  UNDER SEAL


Vol. 45      PX3424                                                                  UNDER SEAL


Vol. 45      PX3425                                                                  UNDER SEAL


Vol. 45      PX3426                                                                  UNDER SEAL


Vol. 45      PX3427                                                                  UNDER SEAL


Vol. 45      PX3428                                                                  UNDER SEAL


Vol. 45      PX3429                                                                  UNDER SEAL


Vol. 45      PX3430                                                                  UNDER SEAL


Vol. 45      PX3431                                                                  UNDER SEAL


Vol. 45      PX3432                                                                  UNDER SEAL


Vol. 45      PX3433                                                                  UNDER SEAL


Vol. 45      PX3434                                                                  UNDER SEAL


Vol. 45      PX3435                                                                  UNDER SEAL


Vol. 45      PX3436                                                                  UNDER SEAL


Vol. 46      PX3437                                                                  UNDER SEAL


Vol. 46      PX3438                                                                  UNDER SEAL


Vol. 46      PX3439                                                                  UNDER SEAL


Vol. 46      PX3440                                                                  UNDER SEAL


Vol. 46      PX3441                                                                  UNDER SEAL


Vol. 46      PX3442                                                                  UNDER SEAL




                                                35 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 36 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 46      PX3443                                                                  UNDER SEAL


Vol. 46      PX3444                                                                  UNDER SEAL


Vol. 46      PX3445                                                                  UNDER SEAL


Vol. 46      PX3446                                                                  UNDER SEAL


Vol. 47      PX3447                                                                  UNDER SEAL


Vol. 47      PX3449                                                                  UNDER SEAL


Vol. 47      PX3450                                                                  UNDER SEAL


Vol. 47      PX3451                                                                  UNDER SEAL


Vol. 47      PX3452                                                                  UNDER SEAL


Vol. 47      PX3454                                                                  UNDER SEAL


Vol. 47      PX3455                                                                  UNDER SEAL


Vol. 47      PX3456                                                                  UNDER SEAL


Vol. 47      PX3457                                                                  UNDER SEAL


Vol. 47      PX3458                                                                  UNDER SEAL


Vol. 47      PX3459                                                                  UNDER SEAL


Vol. 47      PX3460                                                                  UNDER SEAL


Vol. 47      PX3461                                                                  UNDER SEAL


Vol. 47      PX3462                                                                  UNDER SEAL


Vol. 47      PX3463                                                                  UNDER SEAL


Vol. 47      PX3464                                                                  UNDER SEAL




                                                36 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 37 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 47      PX3465                                                                  UNDER SEAL


Vol. 47      PX3466                                                                  UNDER SEAL


Vol. 47      PX3467                                                                  UNDER SEAL


Vol. 47      PX3468                                                                  UNDER SEAL


Vol. 47      PX3469                                                                  UNDER SEAL


Vol. 47      PX3470                                                                  UNDER SEAL


Vol. 47      PX3471                                                                  UNDER SEAL


Vol. 48      PX3472                                                                  UNDER SEAL


Vol. 48      PX3473                                                                  UNDER SEAL


Vol. 48      PX3474                                                                  UNDER SEAL


Vol. 48      PX3475                                                                  UNDER SEAL


Vol. 48      PX3477                                                                  UNDER SEAL


Vol. 48      PX3478                                                                  UNDER SEAL


Vol. 48      PX3479                                                                  UNDER SEAL


Vol. 48      PX3480                                                                  UNDER SEAL


Vol. 48      PX3481                                                                  UNDER SEAL


Vol. 48      PX3482                                                                  UNDER SEAL


Vol. 48      PX3483                                                                  UNDER SEAL


Vol. 48      PX3484                                                                  UNDER SEAL


Vol. 49      PX3485                                                                  UNDER SEAL




                                                37 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 38 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 49      PX3486                                                                  UNDER SEAL


Vol. 49      PX3487                                                                  UNDER SEAL


Vol. 49      PX3488                                                                  UNDER SEAL


Vol. 49      PX3489                                                                  UNDER SEAL


Vol. 49      PX3490                                                                  UNDER SEAL


Vol. 49      PX3491                                                                  UNDER SEAL


Vol. 49      PX3492                                                                  UNDER SEAL


Vol. 49      PX3493                                                                  UNDER SEAL


Vol. 49      PX3494                                                                  UNDER SEAL


Vol. 49      PX3495                                                                  UNDER SEAL


Vol. 49      PX3496                                                                  UNDER SEAL


Vol. 49      PX3497                                                                  UNDER SEAL


Vol. 49      PX3498                                                                  UNDER SEAL


Vol. 49      PX3499                                                                  UNDER SEAL


Vol. 49      PX3500                                                                  UNDER SEAL


Vol. 49      PX3501                                                                  UNDER SEAL


Vol. 50      PX3502                                                                  UNDER SEAL


Vol. 50      PX3503                                                                  UNDER SEAL


Vol. 50      PX3504                                                                  UNDER SEAL


Vol. 50      PX3505                                                                  UNDER SEAL




                                                38 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 39 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 50      PX3506                                                                  UNDER SEAL


Vol. 118     PX3507                                                                  UNDER SEAL


Vol. 50      PX3508                                                                  UNDER SEAL


Vol. 50      PX3509                                                                  UNDER SEAL


Vol. 50      PX3510                                                                  UNDER SEAL


Vol. 50      PX3511                                                                  UNDER SEAL


Vol. 50      PX3512                                                                  UNDER SEAL


Vol. 50      PX3513                                                                  UNDER SEAL


Vol. 50      PX3514                                                                  UNDER SEAL


Vol. 118     PX3515                                                                  UNDER SEAL


Vol. 50      PX3516                                                                  UNDER SEAL


Vol. 50      PX3517                                                                  UNDER SEAL


Vol. 50      PX3518                                                                  UNDER SEAL


Vol. 50      PX3519                                                                  UNDER SEAL


Vol. 51      PX3520                                                                  UNDER SEAL


Vol. 118     PX3521                                                                  UNDER SEAL


Vol. 51      PX3522                                                                  UNDER SEAL


Vol. 51      PX3523                                                                  UNDER SEAL


Vol. 51      PX3524                                                                  UNDER SEAL


Vol. 51      PX3525                                                                  UNDER SEAL




                                                39 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 40 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 51      PX3526                                                                  UNDER SEAL


Vol. 51      PX3527                                                                  UNDER SEAL


Vol. 51      PX3528                                                                  UNDER SEAL


Vol. 51      PX3529                                                                  UNDER SEAL


Vol. 51      PX3530                                                                  UNDER SEAL


Vol. 51      PX3531                                                                  UNDER SEAL


Vol. 51      PX3532                                                                  UNDER SEAL


Vol. 51      PX3533                                                                  UNDER SEAL


Vol. 51      PX3534                                                                  UNDER SEAL


Vol. 51      PX3535                                                                  UNDER SEAL


Vol. 51      PX3536                                                                  UNDER SEAL


Vol. 51      PX3537                                                                  UNDER SEAL


Vol. 51      PX3538                                                                  UNDER SEAL


Vol. 51      PX3539                                                                  UNDER SEAL


Vol. 52      PX3540                                                                  UNDER SEAL


Vol. 52      PX3541                                                                  UNDER SEAL


Vol. 52      PX3542                                                                  UNDER SEAL


Vol. 52      PX3543                                                                  UNDER SEAL


Vol. 52      PX3544                                                                  UNDER SEAL


Vol. 52      PX3545                                                                  UNDER SEAL




                                                40 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 41 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 52      PX3546                                                                  UNDER SEAL


Vol. 52      PX3547                                                                  UNDER SEAL


Vol. 52      PX3548                                                                  UNDER SEAL


Vol. 52      PX3549                                                                  UNDER SEAL


Vol. 52      PX3550                                                                  UNDER SEAL


Vol. 52      PX3551                                                                  UNDER SEAL


Vol. 52      PX3552                                                                  UNDER SEAL


Vol. 52      PX3553                                                                  UNDER SEAL


Vol. 52      PX3555                                                                  UNDER SEAL


Vol. 52      PX3556                                                                  UNDER SEAL


Vol. 52      PX3557                                                                  UNDER SEAL


Vol. 52      PX3558                                                                  UNDER SEAL


Vol. 53      PX3559                                                                  UNDER SEAL


Vol. 53      PX3560                                                                  UNDER SEAL


Vol. 53      PX3561                                                                  UNDER SEAL


Vol. 53      PX3562                                                                  UNDER SEAL


Vol. 53      PX3563                                                                  UNDER SEAL


Vol. 53      PX3564                                                                  UNDER SEAL


Vol. 53      PX3565                                                                  UNDER SEAL


Vol. 53      PX3566                                                                  UNDER SEAL




                                                41 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 42 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 53      PX3567                                                                  UNDER SEAL


Vol. 53      PX3568                                                                  UNDER SEAL


Vol. 54      PX3569                                                                  UNDER SEAL


Vol. 54      PX3570                                                                  UNDER SEAL


Vol. 54      PX3571                                                                  UNDER SEAL


Vol. 54      PX3572                                                                  UNDER SEAL


Vol. 54      PX3573                                                                  UNDER SEAL


Vol. 54      PX3574                                                                  UNDER SEAL


Vol. 54      PX3575                                                                  UNDER SEAL


Vol. 55      PX4002                                                                  UNDER SEAL


Vol. 55      PX4003                                                                  UNDER SEAL


Vol. 55      PX4004                                                                  UNDER SEAL


Vol. 55      PX4008                                                                  UNDER SEAL


Vol. 56      PX5001                                                                  UNDER SEAL


Vol. 56      PX5002                                                                  UNDER SEAL


Vol. 56      PX5003                                                                  UNDER SEAL


Vol. 56      PX5005                                                                  UNDER SEAL


Vol. 56      PX5006                                                                  UNDER SEAL


Vol. 56      PX5007                                                                  UNDER SEAL


Vol. 56      PX5008                                                                  UNDER SEAL




                                                42 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 43 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 56      PX5009                                                                  UNDER SEAL


Vol. 56      PX5010                                                                  UNDER SEAL


Vol. 56      PX5011                                                                  UNDER SEAL


Vol. 56      PX5012                                                                  UNDER SEAL


Vol. 56      PX5013                                                                  UNDER SEAL


Vol. 57      PX6001                                                                  UNDER SEAL


Vol. 57      PX6006                                                                  UNDER SEAL


Vol. 57      PX6008                                                                  UNDER SEAL


Vol. 57      PX6009                                                                  UNDER SEAL


Vol. 57      PX6010                                                                  UNDER SEAL


Vol. 57      PX6013                                                                  UNDER SEAL


Vol. 57      PX6015                                                                  UNDER SEAL


Vol. 57      PX6016                                                                  UNDER SEAL


Vol. 57      PX6017                                                                  UNDER SEAL


Vol. 57      PX6018                                                                  UNDER SEAL


Vol. 57      PX6020                                                                  UNDER SEAL


Vol. 58      PX6021                                                                  UNDER SEAL


Vol. 58      PX6022                                                                  UNDER SEAL


Vol. 58      PX6023                                                                  UNDER SEAL


Vol. 58      PX6025                                                                  UNDER SEAL




                                                43 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 44 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 58      PX6026                                                                  UNDER SEAL


Vol. 58      PX6027                                                                  UNDER SEAL


Vol. 58      PX6028                                                                  UNDER SEAL


Vol. 58      PX6029                                                                  UNDER SEAL


Vol. 58      PX6031                                                                  UNDER SEAL


Vol. 58      PX6033                                                                  UNDER SEAL


Vol. 58      PX6035                                                                  UNDER SEAL


Vol. 58      PX6036                                                                  UNDER SEAL


Vol. 58      PX6037                                                                  UNDER SEAL


Vol. 58      PX6039                                                                  UNDER SEAL


Vol. 59      PX6040                                                                  UNDER SEAL


Vol. 59      PX6041                                                                  UNDER SEAL


Vol. 59      PX6042                                                                  UNDER SEAL


Vol. 59      PX6043                                                                  UNDER SEAL


Vol. 59      PX6044                                                                  UNDER SEAL


Vol. 59      PX6045                                                                  UNDER SEAL


Vol. 59      PX6046                                                                  UNDER SEAL


Vol. 59      PX6047                                                                  UNDER SEAL


Vol. 59      PX6048                                                                  UNDER SEAL


Vol. 59      PX6049                                                                  UNDER SEAL




                                                44 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 45 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 59      PX6050                                                                  UNDER SEAL


Vol. 59      PX6051                                                                  UNDER SEAL


Vol. 59      PX6052                                                                  UNDER SEAL


Vol. 59      PX6054                                                                  UNDER SEAL


Vol. 59      PX6055                                                                  UNDER SEAL


Vol. 60      PX6056                                                                  UNDER SEAL


Vol. 60      PX6058                                                                  UNDER SEAL


Vol. 60      PX6060                                                                  UNDER SEAL


Vol. 60      PX6061                                                                  UNDER SEAL


Vol. 60      PX6062                                                                  UNDER SEAL


Vol. 60      PX6063                                                                  UNDER SEAL


Vol. 60      PX6064                                                                  UNDER SEAL


Vol. 60      PX6065                                                                  UNDER SEAL


Vol. 60      PX6066                                                                  UNDER SEAL


Vol. 60      PX6067                                                                  UNDER SEAL


Vol. 60      PX6068                                                                  UNDER SEAL


Vol. 60      PX6069                                                                  UNDER SEAL


Vol. 60      PX6070                                                                  UNDER SEAL


Vol. 60      PX6072                                                                  UNDER SEAL


Vol. 60      PX6074                                                                  UNDER SEAL




                                                45 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 46 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 60      PX6075                                                                  UNDER SEAL


Vol. 61      PX6076                                                                  UNDER SEAL


Vol. 61      PX6077                                                                  UNDER SEAL


Vol. 61      PX6078                                                                  UNDER SEAL


Vol. 61      PX6079                                                                  UNDER SEAL


Vol. 61      PX6080                                                                  UNDER SEAL


Vol. 61      PX6082                                                                  UNDER SEAL


Vol. 61      PX6083                                                                  UNDER SEAL


Vol. 61      PX6084                                                                  UNDER SEAL


Vol. 61      PX6085                                                                  UNDER SEAL


Vol. 61      PX6086                                                                  UNDER SEAL


Vol. 61      PX6087                                                                  UNDER SEAL


Vol. 61      PX6088                                                                  UNDER SEAL


Vol. 61      PX6090                                                                  UNDER SEAL


Vol. 61      PX6091                                                                  UNDER SEAL


Vol. 61      PX6092                                                                  UNDER SEAL


Vol. 61      PX6093                                                                  UNDER SEAL


Vol. 62      PX6094                                                                  UNDER SEAL


Vol. 62      PX6095                                                                  UNDER SEAL


Vol. 62      PX6096                                                                  UNDER SEAL




                                                46 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 47 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 62      PX6097                                                                  UNDER SEAL


Vol. 62      PX6099                                                                  UNDER SEAL


Vol. 62      PX6100                                                                  UNDER SEAL


Vol. 62      PX6101                                                                  UNDER SEAL


Vol. 62      PX6102                                                                  UNDER SEAL


Vol. 62      PX6103                                                                  UNDER SEAL


Vol. 62      PX6104                                                                  UNDER SEAL


Vol. 62      PX6106                                                                  UNDER SEAL


Vol. 62      PX6107                                                                  UNDER SEAL


Vol. 62      PX6108                                                                  UNDER SEAL


Vol. 62      PX6109                                                                  UNDER SEAL


Vol. 62      PX6110                                                                  UNDER SEAL


Vol. 62      PX6111                                                                  UNDER SEAL


Vol. 63      PX6112                                                                  UNDER SEAL


Vol. 63      PX6113                                                                  UNDER SEAL


Vol. 63      PX6114                                                                  UNDER SEAL


Vol. 63      PX6115                                                                  UNDER SEAL


Vol. 63      PX6117                                                                  UNDER SEAL


Vol. 63      PX6118                                                                  UNDER SEAL


Vol. 63      PX6119                                                                  UNDER SEAL




                                                47 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 48 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 63      PX6121                                                                  UNDER SEAL


Vol. 63      PX6122                                                                  UNDER SEAL


Vol. 63      PX6123                                                                  UNDER SEAL


Vol. 63      PX6124                                                                  UNDER SEAL


Vol. 63      PX6126                                                                  UNDER SEAL


Vol. 63      PX6127                                                                  UNDER SEAL


Vol. 64      PX6128                                                                  UNDER SEAL


Vol. 64      PX6130                                                                  UNDER SEAL


Vol. 64      PX6131                                                                  UNDER SEAL


Vol. 64      PX6133                                                                  UNDER SEAL


Vol. 64      PX6134                                                                  UNDER SEAL


Vol. 64      PX6135                                                                  UNDER SEAL


Vol. 64      PX6136                                                                  UNDER SEAL


Vol. 64      PX6137                                                                  UNDER SEAL


Vol. 64      PX6138                                                                  UNDER SEAL


Vol. 64      PX6139                                                                  UNDER SEAL


Vol. 64      PX6141                                                                  UNDER SEAL


Vol. 64      PX6142                                                                  UNDER SEAL


Vol. 65      PX6143                                                                  UNDER SEAL


Vol. 65      PX6144                                                                  UNDER SEAL




                                                48 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 49 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 65      PX6145                                                                  UNDER SEAL


Vol. 65      PX6146                                                                  UNDER SEAL


Vol. 65      PX6147                                                                  UNDER SEAL


Vol. 65      PX6148                                                                  UNDER SEAL


Vol. 65      PX6149                                                                  UNDER SEAL


Vol. 65      PX6151                                                                  UNDER SEAL


Vol. 65      PX6152                                                                  UNDER SEAL


Vol. 65      PX6153                                                                  UNDER SEAL


Vol. 65      PX6156                                                                  UNDER SEAL


Vol. 65      PX6157                                                                  UNDER SEAL


Vol. 66      PX6158                                                                  UNDER SEAL


Vol. 66      PX6159                                                                  UNDER SEAL


Vol. 66      PX6160                                                                  UNDER SEAL


Vol. 66      PX6161                                                                  UNDER SEAL


Vol. 66      PX6162                                                                  UNDER SEAL


Vol. 66      PX6169                                                                  UNDER SEAL


Vol. 66      PX6172                                                                  UNDER SEAL


Vol. 66      PX6173                                                                  UNDER SEAL


Vol. 66      PX6175                                                                  UNDER SEAL


Vol. 66      PX6176                                                                  UNDER SEAL




                                                49 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 50 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 67      PX6177                                                                  UNDER SEAL


Vol. 67      PX6178                                                                  UNDER SEAL


Vol. 67      PX6179                                                                  UNDER SEAL


Vol. 67      PX6180                                                                  UNDER SEAL


Vol. 67      PX6181                                                                  UNDER SEAL


Vol. 67      PX6182                                                                  UNDER SEAL


Vol. 67      PX6183                                                                  UNDER SEAL


Vol. 67      PX6184                                                                  UNDER SEAL


Vol. 67      PX6185                                                                  UNDER SEAL


Vol. 67      PX6187                                                                  UNDER SEAL


Vol. 68      PX7004                                                                  UNDER SEAL


Vol. 68      PX7005                                                                  UNDER SEAL


Vol. 68      PX7006                                                                  UNDER SEAL


Vol. 68      PX7008                                                                  UNDER SEAL


Vol. 68      PX7009                                                                  UNDER SEAL


Vol. 68      PX7011                                                                  UNDER SEAL


Vol. 68      PX7013                                                                  UNDER SEAL


Vol. 68      PX7014                                                                  UNDER SEAL


Vol. 68      PX7015                                                                  UNDER SEAL


Vol. 68      PX7016                                                                  UNDER SEAL




                                                50 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 51 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 68      PX7017                                                                  UNDER SEAL


Vol. 68      PX7018                                                                  UNDER SEAL


Vol. 69      PX7019                                                                  UNDER SEAL


Vol. 69      PX7030                                                                  UNDER SEAL


Vol. 69      PX7031                                                                  UNDER SEAL


Vol. 69      PX7032                                                                  UNDER SEAL


Vol. 69      PX7033                                                                  UNDER SEAL


Vol. 69      PX7034                                                                  UNDER SEAL


Vol. 69      PX7035                                                                  UNDER SEAL


Vol. 69      PX7036                                                                  UNDER SEAL


Vol. 69      PX7037                                                                  UNDER SEAL


Vol. 69      PX7038                                                                  UNDER SEAL


Vol. 69      PX7039                                                                  UNDER SEAL


Vol. 69      PX7041                                                                  UNDER SEAL


Vol. 69      PX7042                                                                  UNDER SEAL


Vol. 69      PX7043                                                                  UNDER SEAL


Vol. 69      PX7044                                                                  UNDER SEAL


Vol. 69      PX7045                                                                  UNDER SEAL


Vol. 70      PX7046                                                                  UNDER SEAL


Vol. 70      PX7047                                                                  UNDER SEAL




                                                51 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 52 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 70      PX7048                                                                  UNDER SEAL


Vol. 70      PX7049                                                                  UNDER SEAL


Vol. 70      PX7050                                                                  UNDER SEAL


Vol. 70      PX7051                                                                  UNDER SEAL


Vol. 70      PX7052                                                                  UNDER SEAL


Vol. 70      PX7053                                                                  UNDER SEAL


Vol. 70      PX7054                                                                  UNDER SEAL


Vol. 71      PX7055                                                                  UNDER SEAL


Vol. 71      PX7056                                                                  UNDER SEAL


Vol. 71      PX7057                                                                  UNDER SEAL


Vol. 71      PX7058                                                                  UNDER SEAL


Vol. 71      PX7059                                                                  UNDER SEAL


Vol. 71      PX7060                                                                  UNDER SEAL


Vol. 71      PX7062                                                                  UNDER SEAL


Vol. 71      PX7065                                                                  UNDER SEAL


Vol. 71      PX7066                                                                  UNDER SEAL


Vol. 71      PX7067                                                                  UNDER SEAL


Vol. 71      PX7068                                                                  UNDER SEAL


Vol. 71      PX7069                                                                  UNDER SEAL


Vol. 71      PX7070                                                                  UNDER SEAL




                                                52 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 53 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.   Description                                                    Sealing Treatment


Vol. 71      PX7071                                                                  UNDER SEAL


Vol. 72      PX8006                                                                  UNDER SEAL


Vol. 72      PX8007                                                                  UNDER SEAL


Vol. 72      PX8008                                                                  UNDER SEAL


Vol. 72      PX8009                                                                  UNDER SEAL


Vol. 72      PX8010                                                                  UNDER SEAL


Vol. 72      PX8011                                                                  UNDER SEAL


Vol. 73      PX9000                                                                  UNDER SEAL


Vol. 73      PX9001                                                                  UNDER SEAL


Vol. 73      PX9002                                                                  UNDER SEAL


Vol. 74      PX9003                                                                  UNDER SEAL


Vol. 74      PX9004                                                                  UNDER SEAL


Vol. 74      PX9005                                                                  UNDER SEAL


Vol. 74      PX9006                                                                  UNDER SEAL


Vol. 75      PX9007                                                                  UNDER SEAL


Vol. 75      PX9008                                                                  UNDER SEAL


Vol. 75      PX9009                                                                  UNDER SEAL


Vol. 76      PX9010                                                                  UNDER SEAL


Vol. 76      PX9011                                                                  UNDER SEAL


Vol. 76      PX9012                                                                  UNDER SEAL




                                                53 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 54 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 76      PX9013                                                                  UNDER SEAL


Vol. 76      PX9014                                                                  UNDER SEAL


Vol. 77      PX9015                                                                  UNDER SEAL


Vol. 77      PX9016                                                                  UNDER SEAL


Vol. 77      PX9017                                                                  UNDER SEAL


Vol. 77      PX9018                                                                  UNDER SEAL


Vol. 77      PX9019                                                                  UNDER SEAL


Vol. 77      PX9020                                                                  UNDER SEAL


Vol. 77      PX9021                                                                  UNDER SEAL


Vol. 77      PX9022                                                                  UNDER SEAL


Vol. 77      PX9023                                                                  UNDER SEAL


Vol. 78      PX10020                                                                 UNDER SEAL


Vol. 78      PX10023                                                                 UNDER SEAL


Vol. 78      PX10025                                                                 UNDER SEAL


Vol. 78      PX10026                                                                 UNDER SEAL


Vol. 78      PX10045                                                                 UNDER SEAL


Vol. 78      PX10060                                                                 UNDER SEAL


Vol. 78      PX10074                                                                 UNDER SEAL


Vol. 78      PX10080                                                                 UNDER SEAL


Vol. 78      PX10082                                                                 UNDER SEAL




                                                54 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 55 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 78      PX10087                                                                 UNDER SEAL


Vol. 78      PX10089                                                                 UNDER SEAL


Vol. 78      PX10092                                                                 UNDER SEAL


Vol. 78      PX10101                                                                 UNDER SEAL


Vol. 78      PX10105                                                                 UNDER SEAL


Vol. 78      PX10106                                                                 UNDER SEAL


Vol. 78      PX10124                                                                 UNDER SEAL


Vol. 78      PX10156                                                                 UNDER SEAL


Vol. 78      PX10161                                                                 UNDER SEAL


Vol. 79      PX10189                                                                 UNDER SEAL


Vol. 79      PX10197                                                                 UNDER SEAL


Vol. 79      PX10216                                                                 UNDER SEAL


Vol. 79      PX10219                                                                 UNDER SEAL


Vol. 79      PX10221                                                                 UNDER SEAL


Vol. 79      PX10223                                                                 UNDER SEAL


Vol. 79      PX10227                                                                 UNDER SEAL


Vol. 79      PX10228                                                                 UNDER SEAL


Vol. 80      PX10232                                                                 UNDER SEAL


Vol. 80      PX10242                                                                 UNDER SEAL


Vol. 80      PX10268                                                                 UNDER SEAL




                                                55 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 56 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 80      PX10271                                                                 UNDER SEAL


Vol. 80      PX10275                                                                 UNDER SEAL


Vol. 80      PX10279                                                                 UNDER SEAL


Vol. 80      PX10283                                                                 UNDER SEAL


Vol. 80      PX10284                                                                 UNDER SEAL


Vol. 80      PX10294                                                                 UNDER SEAL


Vol. 80      PX10295                                                                 UNDER SEAL


Vol. 80      PX10312                                                                 UNDER SEAL


Vol. 80      PX10316                                                                 UNDER SEAL


Vol. 80      PX10319                                                                 UNDER SEAL


Vol. 80      PX10321                                                                 UNDER SEAL


Vol. 80      PX10322                                                                 UNDER SEAL


Vol. 80      PX10323                                                                 UNDER SEAL


Vol. 80      PX10328                                                                 UNDER SEAL


Vol. 80      PX10329                                                                 UNDER SEAL


Vol. 80      PX10330                                                                 UNDER SEAL


Vol. 80      PX10334                                                                 UNDER SEAL


Vol. 80      PX10336                                                                 UNDER SEAL


Vol. 80      PX10338                                                                 UNDER SEAL


Vol. 80      PX10446                                                                 UNDER SEAL




                                                56 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 57 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 80      PX10449                                                                 UNDER SEAL


Vol. 81      PX10452                                                                 UNDER SEAL


Vol. 81      PX10453                                                                 UNDER SEAL


Vol. 81      PX10454                                                                 UNDER SEAL


Vol. 81      PX10457                                                                 UNDER SEAL


Vol. 81      PX10498                                                                 UNDER SEAL


Vol. 81      PX10504                                                                 UNDER SEAL


Vol. 81      PX10505                                                                 UNDER SEAL


Vol. 81      PX10522                                                                 UNDER SEAL


Vol. 81      PX10548                                                                 UNDER SEAL


Vol. 81      PX10556                                                                 UNDER SEAL


Vol. 81      PX10558                                                                 UNDER SEAL


Vol. 81      PX10568                                                                 UNDER SEAL


Vol. 81      PX10592                                                                 UNDER SEAL


Vol. 81      PX10594                                                                 UNDER SEAL


Vol. 81      PX10595                                                                 UNDER SEAL


Vol. 81      PX10598                                                                 UNDER SEAL


Vol. 82      PX10607                                                                 UNDER SEAL


Vol. 82      PX10608                                                                 UNDER SEAL


Vol. 82      PX10626                                                                 UNDER SEAL




                                                57 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 58 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 82      PX10655                                                                 UNDER SEAL


Vol. 82      PX10662                                                                 UNDER SEAL


Vol. 83      PX10689                                                                 UNDER SEAL


Vol. 83      PX10695                                                                 UNDER SEAL


Vol. 83      PX10743                                                                 UNDER SEAL


Vol. 83      PX10744                                                                 UNDER SEAL


Vol. 84      PX10747                                                                 UNDER SEAL


Vol. 84      PX10750                                                                 UNDER SEAL


Vol. 84      PX10755                                                                 UNDER SEAL


Vol. 84      PX10758                                                                 UNDER SEAL


Vol. 84      PX10759                                                                 UNDER SEAL


Vol. 84      PX10763                                                                 UNDER SEAL


Vol. 84      PX10764                                                                 UNDER SEAL


Vol. 84      PX10765                                                                 UNDER SEAL


Vol. 84      PX10799                                                                 UNDER SEAL


Vol. 85      PX10800                                                                 UNDER SEAL


Vol. 85      PX10808                                                                 UNDER SEAL


Vol. 85      PX10827                                                                 UNDER SEAL


Vol. 85      PX10828                                                                 UNDER SEAL


Vol. 85      PX10849                                                                 UNDER SEAL




                                                58 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 59 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 85      PX10855                                                                 UNDER SEAL


Vol. 85      PX10857                                                                 UNDER SEAL


Vol. 85      PX10861                                                                 UNDER SEAL


Vol. 85      PX10881                                                                 UNDER SEAL


Vol. 85      PX10882                                                                 UNDER SEAL


Vol. 85      PX10883                                                                 UNDER SEAL


Vol. 85      PX10887                                                                 UNDER SEAL


Vol. 85      PX10899                                                                 UNDER SEAL


Vol. 85      PX10900                                                                 UNDER SEAL


Vol. 85      PX10902                                                                 UNDER SEAL


Vol. 85      PX10903                                                                 UNDER SEAL


Vol. 85      PX10928                                                                 UNDER SEAL


Vol. 85      PX10939                                                                 UNDER SEAL


Vol. 86      PX10940                                                                 UNDER SEAL


Vol. 86      PX10988                                                                 UNDER SEAL


Vol. 86      PX11022                                                                 UNDER SEAL


Vol. 86      PX11028                                                                 UNDER SEAL


Vol. 86      PX11030                                                                 UNDER SEAL


Vol. 86      PX11032                                                                 UNDER SEAL


Vol. 86      PX11034                                                                 UNDER SEAL




                                                59 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 60 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 86      PX11036                                                                 UNDER SEAL


Vol. 86      PX11039                                                                 UNDER SEAL


Vol. 86      PX11042                                                                 UNDER SEAL


Vol. 86      PX11050                                                                 UNDER SEAL


Vol. 86      PX11059                                                                 UNDER SEAL


Vol. 86      PX11060                                                                 UNDER SEAL


Vol. 86      PX11061                                                                 UNDER SEAL


Vol. 86      PX11070                                                                 UNDER SEAL


Vol. 86      PX11076                                                                 UNDER SEAL


Vol. 87      PX11078                                                                 UNDER SEAL


Vol. 87      PX11079                                                                 UNDER SEAL


Vol. 87      PX11086                                                                 UNDER SEAL


Vol. 87      PX11094                                                                 UNDER SEAL


Vol. 87      PX11095                                                                 UNDER SEAL


Vol. 87      PX11108                                                                 UNDER SEAL


Vol. 87      PX11278                                                                 UNDER SEAL


Vol. 87      PX11284                                                                 UNDER SEAL


Vol. 87      PX11286                                                                 UNDER SEAL


Vol. 87      PX11287                                                                 UNDER SEAL


Vol. 87      PX11304                                                                 UNDER SEAL




                                                60 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 61 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 87      PX11309                                                                 UNDER SEAL


Vol. 87      PX11312                                                                 UNDER SEAL


Vol. 87      PX11654                                                                 UNDER SEAL


Vol. 87      PX11662                                                                 UNDER SEAL


Vol. 87      PX11670                                                                 UNDER SEAL


Vol. 87      PX11677                                                                 UNDER SEAL


Vol. 87      PX11678                                                                 UNDER SEAL


Vol. 87      PX11727                                                                 UNDER SEAL


Vol. 87      PX11803                                                                 UNDER SEAL


Vol. 88      PX11804                                                                 UNDER SEAL


Vol. 88      PX11806                                                                 UNDER SEAL


Vol. 88      PX11971                                                                 UNDER SEAL


Vol. 88      PX11972                                                                 UNDER SEAL


Vol. 88      PX11974                                                                 UNDER SEAL


Vol. 88      PX11996                                                                 UNDER SEAL


Vol. 88      PX12102                                                                 UNDER SEAL


Vol. 88      PX12106                                                                 UNDER SEAL


Vol. 88      PX12108                                                                 UNDER SEAL


Vol. 88      PX12110                                                                 UNDER SEAL


Vol. 88      PX12115                                                                 UNDER SEAL




                                                61 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 62 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 88      PX12127                                                                 UNDER SEAL


Vol. 88      PX12193                                                                 UNDER SEAL


Vol. 88      PX12201                                                                 UNDER SEAL


Vol. 88      PX12202                                                                 UNDER SEAL


Vol. 88      PX12204                                                                 UNDER SEAL


Vol. 89      PX12271                                                                 UNDER SEAL


Vol. 89      PX12330                                                                 UNDER SEAL


Vol. 89      PX12333                                                                 UNDER SEAL


Vol. 89      PX12338                                                                 UNDER SEAL


Vol. 89      PX12339                                                                 UNDER SEAL


Vol. 89      PX12347                                                                 UNDER SEAL


Vol. 89      PX12348                                                                 UNDER SEAL


Vol. 89      PX12351                                                                 UNDER SEAL


Vol. 89      PX12360                                                                 UNDER SEAL


Vol. 89      PX12374                                                                 UNDER SEAL


Vol. 90      PX12389                                                                 UNDER SEAL


Vol. 90      PX12403                                                                 UNDER SEAL


Vol. 90      PX12405                                                                 UNDER SEAL


Vol. 90      PX12407                                                                 UNDER SEAL


Vol. 90      PX12409                                                                 UNDER SEAL




                                                62 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 63 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 90      PX12411                                                                 UNDER SEAL


Vol. 90      PX12486                                                                 UNDER SEAL


Vol. 90      PX12497                                                                 UNDER SEAL


Vol. 90      PX12501                                                                 UNDER SEAL


Vol. 90      PX12609                                                                 UNDER SEAL


Vol. 91      PX12611                                                                 UNDER SEAL


Vol. 91      PX12625                                                                 UNDER SEAL


Vol. 91      PX12663                                                                 UNDER SEAL


Vol. 92      PX12664                                                                 UNDER SEAL


Vol. 92      PX12666                                                                 UNDER SEAL


Vol. 92      PX12669                                                                 UNDER SEAL


Vol. 92      PX12676                                                                 UNDER SEAL


Vol. 93      PX12685                                                                 UNDER SEAL


Vol. 93      PX12692                                                                 UNDER SEAL


Vol. 93      PX12704                                                                 UNDER SEAL


Vol. 93      PX12745                                                                 UNDER SEAL


Vol. 93      PX12753                                                                 UNDER SEAL


Vol. 93      PX12973                                                                 UNDER SEAL


Vol. 93      PX12978                                                                 UNDER SEAL


Vol. 94      PX12982                                                                 UNDER SEAL




                                                63 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 64 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 94      PX12990                                                                 UNDER SEAL


Vol. 95      PX12991                                                                 UNDER SEAL


Vol. 96      PX12992                                                                 UNDER SEAL


Vol. 97      PX12993                                                                 UNDER SEAL


Vol. 98      PX13038                                                                 UNDER SEAL


Vol. 98      PX13039                                                                 UNDER SEAL


Vol. 98      PX13041                                                                 UNDER SEAL


Vol. 98      PX13042                                                                 UNDER SEAL


Vol. 98      PX13047                                                                 UNDER SEAL


Vol. 98      PX13197                                                                 UNDER SEAL


Vol. 99      PX13203                                                                 UNDER SEAL


Vol. 99      PX13204                                                                 UNDER SEAL


Vol. 99      PX13215                                                                 UNDER SEAL


Vol. 99      PX13216                                                                 UNDER SEAL


Vol. 99      PX13218                                                                 UNDER SEAL


Vol. 100     PX13221                                                                 UNDER SEAL


Vol. 100     PX13266                                                                 UNDER SEAL


Vol. 100     PX13272                                                                 UNDER SEAL


Vol. 101     PX13283                                                                 UNDER SEAL


Vol. 101     PX13495                                                                 UNDER SEAL




                                                64 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 65 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 101     PX13506                                                                 UNDER SEAL


Vol. 101     PX13564                                                                 UNDER SEAL


Vol. 101     PX13575                                                                 UNDER SEAL


Vol. 101     PX13581                                                                 UNDER SEAL


Vol. 101     PX13583                                                                 UNDER SEAL


Vol. 102     PX13608                                                                 UNDER SEAL


Vol. 102     PX13746                                                                 UNDER SEAL


Vol. 102     PX13757                                                                 UNDER SEAL


Vol. 102     PX13758                                                                 UNDER SEAL


Vol. 102     PX13794                                                                 UNDER SEAL


Vol. 102     PX13799                                                                 UNDER SEAL


Vol. 102     PX13800                                                                 UNDER SEAL


Vol. 102     PX13874                                                                 UNDER SEAL


Vol. 103     PX13948                                                                 UNDER SEAL


Vol. 103     PX13949                                                                 UNDER SEAL


Vol. 103     PX14113                                                                 UNDER SEAL


Vol. 103     PX14131                                                                 UNDER SEAL


Vol. 103     PX14139                                                                 UNDER SEAL


Vol. 103     PX14319                                                                 UNDER SEAL


Vol. 103     PX14687                                                                 UNDER SEAL




                                                65 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 66 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 103     PX14794                                                                 UNDER SEAL


Vol. 103     PX14795                                                                 UNDER SEAL


Vol. 103     PX14798                                                                 UNDER SEAL


Vol. 103     PX14801                                                                 UNDER SEAL


Vol. 103     PX14806                                                                 UNDER SEAL


Vol. 103     PX14809                                                                 UNDER SEAL


Vol. 104     PX14829                                                                 UNDER SEAL


Vol. 105     PX14894                                                                 UNDER SEAL


Vol. 105     PX14898                                                                 UNDER SEAL


Vol. 106     PX14952                                                                 UNDER SEAL


Vol. 107     PX14955                                                                 UNDER SEAL


Vol. 108     PX14959                                                                 UNDER SEAL


Vol. 109     PX14977                                                                 UNDER SEAL


Vol. 109     PX15001                                                                 UNDER SEAL


Vol. 109     PX15006                                                                 UNDER SEAL


Vol. 110     PX15041                                                                 UNDER SEAL


Vol. 110     PX15043                                                                 UNDER SEAL


Vol. 111     PX15058                                                                 UNDER SEAL


Vol. 111     PX15060                                                                 UNDER SEAL


Vol. 111     PX15074                                                                 UNDER SEAL




                                                66 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 67 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 111     PX15112                                                                 UNDER SEAL


Vol. 111     PX15115                                                                 UNDER SEAL


Vol. 111     PX15123                                                                 UNDER SEAL


Vol. 111     PX15129                                                                 UNDER SEAL


Vol. 111     PX15138                                                                 UNDER SEAL


Vol. 111     PX15160                                                                 UNDER SEAL


Vol. 111     PX15162                                                                 UNDER SEAL


Vol. 111     PX15174                                                                 UNDER SEAL


Vol. 111     PX15179                                                                 UNDER SEAL


Vol. 111     PX15180                                                                 UNDER SEAL


Vol. 111     PX15191                                                                 UNDER SEAL


Vol. 111     PX15197                                                                 UNDER SEAL


Vol. 111     PX15200                                                                 UNDER SEAL


Vol. 111     PX15206                                                                 UNDER SEAL


Vol. 112     PX15222                                                                 UNDER SEAL


Vol. 112     PX15223                                                                 UNDER SEAL


Vol. 112     PX15224                                                                 UNDER SEAL


Vol. 112     PX15225                                                                 UNDER SEAL


Vol. 112     PX15226                                                                 UNDER SEAL


Vol. 112     PX15233                                                                 UNDER SEAL




                                                67 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 68 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 112     PX15237                                                                 UNDER SEAL


Vol. 112     PX15239                                                                 UNDER SEAL


Vol. 112     PX15241                                                                 UNDER SEAL


Vol. 112     PX15244                                                                 UNDER SEAL


Vol. 112     PX15269                                                                 UNDER SEAL


Vol. 112     PX15273                                                                 UNDER SEAL


Vol. 112     PX15275                                                                 UNDER SEAL


Vol. 112     PX15277                                                                 UNDER SEAL


Vol. 112     PX15316                                                                 UNDER SEAL


Vol. 113     PX15323                                                                 UNDER SEAL


Vol. 113     PX15335                                                                 UNDER SEAL


Vol. 113     PX15360                                                                 UNDER SEAL


Vol. 113     PX15381                                                                 UNDER SEAL


Vol. 113     PX15382                                                                 UNDER SEAL


Vol. 113     PX15411                                                                 UNDER SEAL


Vol. 113     PX15424                                                                 UNDER SEAL


Vol. 113     PX15427                                                                 UNDER SEAL


Vol. 114     PX15428                                                                 UNDER SEAL


Vol. 114     PX15429                                                                 UNDER SEAL


Vol. 114     PX15438                                                                 UNDER SEAL




                                                68 of 71
              Case 1:20-cv-03590-JEB     Document 348         Filed 05/25/24   Page 69 of 71


                                       Federal Trade Commission
                                             Exhibit Index
Volume No.   Ex No.    Description                                                   Sealing Treatment


Vol. 114     PX15447                                                                 UNDER SEAL


Vol. 114     PX15508                                                                 UNDER SEAL


Vol. 115     PX15513                                                                 UNDER SEAL


Vol. 116     PX15544                                                                 UNDER SEAL


Vol. 116     PX15545                                                                 UNDER SEAL


Vol. 116     PX15546                                                                 UNDER SEAL


Vol. 116     PX15547                                                                 UNDER SEAL


Vol. 116     PX15548                                                                 UNDER SEAL


Vol. 116     PX15554                                                                 UNDER SEAL


Vol. 116     PX15556                                                                 UNDER SEAL


Vol. 116     PX15558                                                                 UNDER SEAL


Vol. 116     PX15561                                                                 UNDER SEAL


Vol. 116     PX15562                                                                 UNDER SEAL


Vol. 117     PX15563                                                                 UNDER SEAL


Vol. 117     PX15564                                                                 UNDER SEAL


Vol. 117     PX15565                                                                 UNDER SEAL


Vol. 117     PX15567                                                                 UNDER SEAL


Vol. 117     PX15568                                                                 UNDER SEAL


Vol. 117     PX15569                                                                 UNDER SEAL


Vol. 117     PX15571                                                                 UNDER SEAL




                                                69 of 71
              Case 1:20-cv-03590-JEB                       Document 348                Filed 05/25/24             Page 70 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                            Sealing Treatment


Vol. 117     PX15572                                                                                                          UNDER SEAL


Vol. 10      PX10031 Webpage: The Instagram Community Hits 80 Million Users, Instagram,                                       PUBLIC
                     http://blog.instagram.com/post/28067043504/the-instagram-community-hits-80-million-users

Vol. 10      PX10423 Webpage: About Us , Strava, https://www.strava.com/about                                                 PUBLIC


Vol. 10      PX10481 Public Document: Twitter, Inc. SEC Form S-1 (2013)                                                       PUBLIC


Vol. 10      PX11685 Public Document: Facebook, Inc. SEC Form 8K/A (2014)                                                     PUBLIC


Vol. 10      PX12416 Blog Post: Dirk Stoop, Introducing Facebook Camera, Meta (May 24, 2012),                                 PUBLIC
                     https://about.fb.com/news/2012/05/introducing-facebook-camera

Vol. 10      PX12503 Article: Adam Mosseri, Bringing People Closer Together , Meta (Jan. 11, 2018),                           PUBLIC
                     https://about.fb.com/news/2018/01/news-feed-fyi-bringing-people-closer-together.

Vol. 10      PX12603 Webpage: Pinterest , Apple App Store, https://apps.apple.com/us/app/pinterest/id429047995                PUBLIC


Vol. 10      PX12605 Article: Jane Martinson, Pinterest chief Ben Silbermann: ‘we’re not a social network’ , The Guardian     PUBLIC
                     (Jun. 12, 2016), https://www.theguardian.com/media/2016/jun/12/pinterest-ben-silbermann-social-
                     network
Vol. 10      PX12606 Article: Pinterest Inc. (PINS) CEO Ben Silverman on Q1 2019 Results - Earnings Call Transcript ,         PUBLIC
                     Seeking Alpha Transcripts (May 16, 2019), https://seekingalpha.com/article/4264794-pinterest-inc-pins-
                     ceo-ben-silverman-on-q1-2019-results-earnings-call-transcript
Vol. 10      PX12628 Public Document: Transparency report, Pinterest (2022), https://policy.pinterest.com/en/transparency-    PUBLIC
                     report

Vol. 10      PX12630 Webpage: Pinterest Engineering, Medium, https://medium.com/@Pinterest_Engineering                        PUBLIC


Vol. 10      PX12632 Article: Hongkai Pan, Fighting spam with Guardian, a real-time analytics and rules engine , Medium       PUBLIC
                     (Feb. 25, 2021), https://medium.com/pinterest-engineering/fighting-spam-with-guardian-a-real-time-
                     analytics-and-rules-engine-938e7e61fa27
Vol. 10      PX12817 Webpage: About Nextdoor, the Neighborhood Network , Nextdoor, https://about.nextdoor.com/                PUBLIC


Vol. 10      PX13189 Blog Post: Dan Levy, Speaking Up for Small Businesses, Meta (Dec. 16, 2020)                              PUBLIC
                     https://about.fb.com/news/2020/12/speaking-up-for-small-businesses/

Vol. 10      PX13494 Public Document: Google ACCC Digital Platforms Services Inquiry, March 2023 Interim Report on the        PUBLIC
                     Provisions of Social Media Services by Social Media Platforms

Vol. 10      PX13507 Video: Interview with Neal Mohan (CEO of YouTube), Axios, (Mar. 29, 2023),                               PUBLIC
                     https://www.youtube.com/watch?v=qLOLcdwsBkI (Excerpt)

Vol. 11      PX14484 Webpage: Scott Coleman LinkedIn page , LinkedIn, https://www.linkedin.com/in/wscoleman                   PUBLIC


Vol. 11      PX14779 Blog Post: Josh Clemm, LinkedIn Scaling History Blog Post, LinkedIn (Jul. 20, 2015),                     PUBLIC
                     https://engineering.linkedin.com/architecture/brief-history-scaling-linkedin

Vol. 11      PX14865 Webpage: About LinkedIn , LinkedIn, https://about.linkedin.com/                                          PUBLIC




                                                                   70 of 71
              Case 1:20-cv-03590-JEB                       Document 348                Filed 05/25/24             Page 71 of 71


                                                       Federal Trade Commission
                                                             Exhibit Index
Volume No.   Ex No.    Description                                                                                             Sealing Treatment


Vol. 11      PX14867 Article: Harry McCracken, LinkedIn turns 20: An oral history of an unlikely champion , Fast Co. (Mar. 7, PUBLIC
                     2023), https://www.fastcompany.com/90849652/linkedin-20-oral-history-unlikely-champ

Vol. 11      PX14868 Article: Recode Staff, Full Transcript: LinkedIn Executive Editor Daniel Roth on Recode Media , Vox       PUBLIC
                     (Feb. 3, 2017), https://www.vox.com/2017/2/3/14491456/full-transcript-linkedin-daniel-roth-recode-
                     media
Vol. 11      PX14869 Article: Nilay Patel, 'We might be wrong, but we're not confused': how Tomer Cohen, chief product         PUBLIC
                     officer at LinkedIn, figures out what works best , The Verge (Dec. 20, 2022),
                     https://www.theverge.com/23517319/tomer-cohen-linkedin-chief-product-officer-business-management
Vol. 11      PX14877 Article: Peter High, Reid Hoffman Shares Lessons From His Career In Blitzscaling , Forbes (Apr. 22,       PUBLIC
                     2019), https://www.forbes.com/sites/peterhigh/2019/04/22/reid-hoffman-shares-the-lessons-from-across-
                     his-career-in-blitzscaling/
Vol. 11      PX14903 Webpage: LinkedIn, Network & Job Finder , Apple App Store, https://apps.apple.com/us/app/linkedin-        PUBLIC
                     network-job-finder/id288429040

Vol. 11      PX15178 Video: Fireside Chat with Facebook Founder and CEO Mark Zuckerberg, Tech Crunch (Sept. 11, 2012), PUBLIC
                     https://www.youtube.com/watch?v=o2wPzjH2xwA&list=PLHRxVckaE8daTWvm6ZJcP9nPYCKd1NY5p
                     &index=8, (Excerpt)
Vol. 11      PX15183 Video: Fireside Chat with Facebook Founder and CEO Mark Zuckerberg, Tech Crunch (Sept. 11, 2012), PUBLIC
                     https://www.youtube.com/watch?v=o2wPzjH2xwA&list=PLHRxVckaE8daTWvm6ZJcP9nPYCKd1NY5p
                     &index=8., (Excerpt)
Vol. 11      PX15324 Webpage: Meta Cross-Check Policy Advisory Opinion Press Release, Oversight Board,                 PUBLIC
                     https://www.oversightboard.com/decision/PAO-NR730OFI/

Vol. 11      PX15344 Journal Article: Dennis W. Carlton, Market Definition: Use and Abuse , Competition Policy International   PUBLIC
                     Vol. 3, No. 1 (Spring 2007)

Vol. 11      PX15346 Public Document: U.S. Department of Justice and the Federal Trade Commission, Horizontal Merger           PUBLIC
                     Guidelines (Aug. 19, 2010)

Vol. 11      PX15347 Public Document: U.S. Department of Justice and the Federal Trade Commission, Merger Guidelines           PUBLIC
                     (Dec. 18, 2023)

Vol. 119     PX15355 Book: Dennis W. Carlton & Jeffrey M. Perloff, Modern Industrial Organization (Addison-Wesley, 4th Ed. PUBLIC
                     2005)

Vol. 12      PX15517 Book: John List, The Voltage Effect (2022) (Excerpt)                                                      PUBLIC


Vol. 12      PX15531 Journal Article: Dennis Carlton and Mark Israel, Response to Gopal Das Varma’s Market Definition,         PUBLIC
                     Upward Pricing Pressure, and the Role of Courts , The Antitrust Source (Dec. 2010)




                                                                    71 of 71
